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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IRIS WEINSTEIN HAGGAI, on her own behalf
 and on behalf of JUDITH LYNNE WEINSTEIN
 HAGGAI and GAD HAGGAI, JOHN DOE,                            Case No. 1:25-cv-02400-JAV
 RICHARD ROE, JANE MOE, SHLOMI ZIV,
 AYELET SAMERANO, on her own behalf and on                   Hon. Jeannette A. Vargas
 behalf of YONATAN SAMERANO, TALIK
 GVILI, on her own behalf and on behalf of RAN               JURY TRIAL DEMANDED
 GVILI, ROEE BARUCH, on his own behalf and
 on behalf of URIEL BARUCH, and JAMES POE,
 on his own behalf and on behalf of LEO POE,

                                    Plaintiffs,

                      - against -

 NERDEEN KISWANI, individually and as the
 representative of WITHIN OUR LIFETIME-
 UNITED FOR PALESTINE, MARYAM ALWAN,
 individually and as the representative of
 COLUMBIA STUDENTS FOR JUSTICE IN
 PALESTINE, CAMERON JONES, individually
 and as the representative of COLUMBIA-
 BARNARD JEWISH VOICE FOR PEACE,
 MAHMOUD KHALIL, individually and as the
 representative of COLUMBIA UNIVERSITY
 APARTHEID DIVEST, and TAREK BAZROUK,

                                    Defendants.


                            SECOND AMENDED COMPLAINT

       Plaintiffs Iris Weinstein Haggai, on her own behalf and on behalf of Judith Lynne Weinstein

Haggai and Gad Haggai, John Doe, Richard Roe, Jane Moe, Shlomi Ziv, Ayelet Samerano, on her

own behalf and on behalf of Yonatan Samerano, Talik Gvili, on her own behalf and on behalf of

Ran Gvili, Roee Baruch, on his own behalf and on behalf of Uriel Baruch, and James Poe, on his

own behalf and on behalf of Leo Poe, by and through the undersigned counsel, respectfully submit

this Second Amended Complaint pursuant to the Antiterrorism Act (“ATA”), 18 U.S.C. § 2333(d),



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and the Alien Tort Statute (“ATS”), 28 U.S.C. § 1350, to hold Defendants accountable for aiding

and abetting Hamas’ continuing acts of international terrorism and violations of the law of nations. 1

                                             INTRODUCTION

        1.       Defendants in this case are Hamas’ propaganda arm in New York City and on the

Columbia University campus. We know this because they advertise themselves as such. Their self-

described acts in furtherance of their goals to assist Hamas have included terrorizing and assaulting

Jewish students, unlawfully taking over and damaging public and university property on

Columbia’s campus, and physically assaulting Columbia employees. They act behind veils and

largely seek to be anonymous individually yet seek to intimidate as a group. This case will pull

down those veils and expose acts that violate this country’s antiterrorism laws. This case will

finally hold these terror supporters accountable for their actions.

        2.       Plaintiffs are victims of Hamas’ heinous and ongoing acts of international terrorism,

including October 7, 2023, the deadliest day for the Jewish people since the Holocaust. This action

seeks to hold responsible critical allies of Hamas in the United States: New York-based

organizations and individuals who, in coordination with Hamas and its affiliates, further Hamas’

continuing terror attacks and actions with insidious, pro-terror public relations operations,

propaganda production and distribution, and unlawful acts.

        3.       Hamas is a terrorist organization founded in 1987 with the express goal of

destroying the State of Israel and murdering all Jews. Today, Hamas has expanded its targets to

include the United States and Western civilization. Hamas furthers its objectives with suicide




1
  Plaintiffs submit this Second Amended Complaint consistent with the Order dated July 2, 2025 (ECF No. 64),
attached hereto as Exhibit 1. Pursuant to Rule 2.C of the Court’s Individual Rules and Practices in Civil Cases, a
redline comparing the Second Amended Complaint with the Amended Complaint is attached hereto as Exhibit 2. On
April 17, 2025, this Court granted leave for Plaintiffs John Doe, Richard Roe, Jane Moe, James Poe, and Leo Moe to
proceed under pseudonyms. ECF No. 17.


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bombings, rocket attacks, stabbings, kidnapping, and using civilians as human shields. Beyond

shedding the blood of the innocent, Hamas also uses vast, well-organized, and well-funded

international propaganda networks to destroy Israel’s public image to both disrupt Israel’s

relationships in the West and prevent it from developing new relationships, especially with its Arab

neighbors.

         4.       Hamas’ strategy is to commit acts of international terrorism and then use Israel’s

defensive response as a springboard to allow its propaganda networks throughout the world to

perpetuate false information and terrorize institutions to sway public opinion against Israel and

toward Hamas. Hamas’ propaganda campaigns regularly include, among other things,

misrepresentative death tolls and false accusations that Israel is a genocidal “apartheid state.” 2 This

terror-by-propaganda strategy “transcends conventional warfare tactics, aiming to exploit the

international community’s response to civilian casualties, generate global condemnation of Israel,

hamstring the [Israeli military’s] operations, and protect Hamas’ military capabilities under the

guise of civilian safety.”3

         5.       For decades, Hamas has maintained what is a functionally a U.S.-based public

relations firm, which has changed forms several times to evade criminal and civil lability. Today,

Hamas’ American propaganda arm is directed and controlled by AJP Educational Foundation, Inc.

a/k/a American Muslims for Palestine (“AMP”) and its on-campus brand, National Students for

Justice in Palestine (“NSJP”) (collectively, “AMP/NSJP”).




2
  It is widely known, for example, that approximately 2 million Muslims live in Israel, and nearly all are citizens or
permanent residents. See, e.g., Kali Robinson, What to Know About the Arab Citizens of Israel, COUNCIL ON
FOREIGN RELATIONS (Oct. 26, 2023), https://www.cfr.org/backgrounder/what-know-about-arab-citizens-israel.
3
  Joshua Klein, Exclusive: Renown Urban Warfare Expert John Spencer Warns ‘World Playing Into Hamas’s
Strategy’, BREITBART (Apr. 1, 2024), https://www.breitbart.com/politics/2024/04/01/exclusive-renown-urban-
warfare-expert-john-spencer-warns-world-playing-hamass-strategy/.


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        6.     The Defendants are Within Our Lifetime – United for Palestine (“Within Our

Lifetime”), Columbia Students for Justice in Palestine (“Columbia SJP”), Columbia-Barnard

Jewish Voice for Peace (“Columbia JVP”), and Columbia University Apartheid Divest (“CUAD”)

(collectively “Associational Defendants”), their respective leaders Nerdeen Kiswani, Maryam

Alwan, Cameron Jones, and Mahmoud Khalil, and Within Our Lifetime member Tarek Bazrouk

(the “Individual Defendants”) (collectively with the Associational Defendants, “Defendants”). The

Associational Defendants, which are sued through their leaders, form the New York City branches

of Hamas’ American propaganda firm. They are among AMP/NSJP’s most important partners and

affiliates.

        7.     On October 7, 2023, Hamas led a terrorist attack on Southern Israel. Hamas

murdered more than 1,200 innocent people, including American citizens, and took more than 200

hostages back to Gaza. Since October 7, Hamas has continued to engage in countless acts of

international terrorism, including continuing to hold innocent civilians as hostages, stealing and

refusing to return the bodies of those they murdered, firing rockets at innocent civilians in Israel,

and attacking Israeli soldiers.

        8.     While the October 7 attack was still underway, Hamas initiated its call for the

“resistance abroad” to “join the battle in any way they can.” The Associational Defendants

resoundingly and knowingly answered Hamas’ call to action, and the Individual Defendants

participated directly in the misconduct.

        9.     On October 8, 2023, AMP/NSJP distributed a manifesto (“NSJP Toolkit”) that

included materials that appear to have been created before October 7. The NSJP Toolkit: (i)

identifies AMP/NSJP as “PART of” a “Unity Intifada” governed by Hamas’ “unified command”

of terrorist operations in Gaza; (ii) calls on AMP/NSJP’s partners and allies to organize a “Day of




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Resistance” using specified graphics and marketing materials; and (iii) directed its allies to sign

what was, effectively, a loyalty pledge to Hamas. On information and belief, AMP/NSJP sent the

NSJP Toolkit to the Associational Defendants, which acted on the AMP/NSJP’s directions.

       10.     Associational Defendants followed the NSJP Toolkit to the letter. Since October 7,

these organizations have only been more aggressive and more militant in their efforts to, in

coordination with Hamas and AMP/NSJP, distribute Hamas-created and affiliated propaganda,

incite fear and violence, and attack critical academic, economic, and infrastructure centers in New

York City.

       11.     Associational Defendants have distributed pro-terror propaganda stamped with the

logo of the “Hamas Media Office.” They also secretly and directly coordinated with Hamas’ terror

patron, the Islamic Revolutionary Guard Corps (“IRGC”), to institute a blockade of critical

infrastructure and institutions in New York City to support Hamas. They have also repeatedly

terrorized and assaulted Jews across New York City and on Columbia University’s campus,

physically assaulted Columbia University employees, and illegally seized and damaged public and

private property. This conduct is exemplified by the crimes of defendant Tarek Bazrouk, a member

of Within Our Lifetime with substantial Hamas connections who recently pleaded guilty to

violently attacking Jews at “protests” near Columbia and elsewhere around New York City.

       12.     There is a legal chasm between independent political advocacy and coordinating

with a foreign terrorist organization to seed pro-terror propaganda throughout America’s largest

city. Associational Defendants are not independent advocates; they are expert propagandists and

proxies for international foreign terrorist organizations. Their actions violate the Antiterrorism Act

and the law of nations.




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                                          THE PLAINTIFFS

       13.        Plaintiff Iris Weinstein Haggai, a U.S. citizen, is the daughter of Judith Lynne

Weinstein Haggai, a U.S. citizen and Gad Haggai, a U.S. citizen. On October 7, 2023, Hamas

terrorists invaded their home in Kibbutz Nir Oz, a kibbutz in southern Israel. Iris’s friends were

murdered, their children were burnt alive, and her community was destroyed. At 6:50 am, Iris’

mother called her terrified from the field where she and Iris’ father were hiding from the terrorists.

Iris’s parents disappeared. For 83 agonizing days, she had no idea if her parents were alive and

being tortured, or dead. The psychological terror of not knowing was unbearable. Finally, Iris and

her family received unconfirmed intelligence that Hamas terrorists had likely murdered her parents

and stolen their bodies to use as bargaining chips. On June 5, 2025, the Israeli Defense Forces

(“IDF”) recovered Judith’s and Gad’s bodies, and they were returned to Israel. As a result of

Hamas’ unspeakable acts, Iris has suffered, and continues to suffer, severe mental and emotional

pain, suffering, and distress. She brings a claim on her own behalf and on behalf of her parents

under the Antiterrorism Act against Defendants for aiding and abetting the kidnapping and murder

of her parents.

       14.        Plaintiff John Doe is a United States citizen and reservist in the IDF. In 2014, John

Doe sustained injuries fighting Hamas in Operation Protective Edge. On October 7, 2023, Doe was

pursuing a law degree from Columbia Law School. He returned to Israel following the attack, as

he was called up for reserve duty. Doe spent 100 consecutive days in and around Gaza fighting

Hamas. During that time, he was involved in gunfights and attacks by Hamas terrorists, each an

act of international terrorism and collectively an ongoing act of international terrorism. While

fighting Hamas, Doe suffered mental anguish and pain and suffering. He continues to suffer from

the effects of his service and continues to suffer ongoing mental and emotional trauma. Now that




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he has returned home, he is still forced to confront Hamas affiliates on his own campus. Doe brings

a claim under the Antiterrorism Act against Defendants for aiding and abetting Hamas’ acts of

international terrorism.

       15.     Plaintiff Richard Roe is a United States citizen and a reservist in the IDF. On

October 7, 2023, upon learning of the attack, he immediately returned to serve. He was deployed

to the Gaza Envelope, operating in Kfar Aza, Be'eri, and Nahal Oz, and he later participated in

operations in Khan Yunis to dismantle Hamas leadership and infrastructure. After months of

service, Roe returned to the United States to complete his studies at Columbia University, where

he was met with an overwhelming atmosphere of hostility and discrimination created because of

Associational Defendants. In one instance, a classmate approached Roe, openly declared their

support for Hamas as a “freedom fighter” group, and told Roe that his family and friends live on

stolen land. In another, a student accosted Roe as he was standing at a pro-Israel table at the campus

clubs fair, put pro-Hamas stickers on the materials on the table, pushed the table, and ripped up

the sign-up papers. At Associational Defendants’ urging, students actively distance themselves

from Roe and other Jewish students, refuse to work with him, ignore him, and treat him as a

second-class citizen. Students and professors alike have confided to Roe that they do not feel safe

at school in light of the severe antisemitic disruption alleged herein. Roe has felt constantly

threatened and forced to defend himself. Roe brings a claim under the Antiterrorism Act against

Defendants for aiding and abetting Hamas’ acts of international terrorism.

       16.     Plaintiff Jane Moe, a U.S. citizen, served in the IDF before enrolling at Columbia

University. On October 7, Moe’s younger brother was deployed to Gaza, where he fought against

Hamas for over a year and sustained injuries in battle. While on Columbia’s campus, Moe has

experienced severe emotional distress and fear due to pro-Hamas protests occurring just outside




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her window. These demonstrations glorify the very terrorists who had attempted to harm and kill

her brother, exacerbating her emotional turmoil. Moe brings a claim under the Antiterrorism Act

against Defendants for aiding and abetting Hamas’ acts of international terrorism.

       17.     Plaintiff Shlomi Ziv, an Israeli citizen, was a member of the security team at the

Nova Music Festival in southern Israel on October 7. During the attack, Shlomi remained at the

festival site to fend off terrorists and evacuate people, until he himself was kidnapped and taken to

Gaza. Shlomi was held hostage in Gaza for 246 days, in the home of a Hamas operative, until he

was rescued by the IDF. While held hostage, Shlomi’s Hamas captors bragged about having Hamas

operatives on American university campuses. In fact, they showed him Al-Jazeera stories and

photographs of protests at Columbia University that were organized by Associational Defendants

while Shlomi was being held hostage. Shlomi suffered, and continues to suffer, mental anguish

and pain and suffering because of his kidnapping. Shlomi brings a claim under the Alien Tort

Statute against Defendants for aiding and abetting his kidnapping by Hamas in violation of the law

of nations.

       18.     Plaintiff Ayelet Samerano, an Israeli citizen, is a mother whose life was irreversibly

shattered by the atrocities of October 7. Ayelet’s 21-year-old son, Yonatan Samerano, was shot and

killed by a terrorist during the Hamas-led onslaught. Then, Yonatan’s body was captured, tossed

into the back of a vehicle, and driven to Gaza. Yonatan’s body was finally recovered by the IDF in

June of 2025, and he was laid to rest in Israel. Ayelet has suffered, and continues to suffer, mental

anguish and pain and suffering, made worse by Associational Defendants’ aiding and abetting her

son’s attackers. Ayelet brings a claim on her own behalf and on behalf of her son under the Alien

Tort Statute against Defendants for aiding and abetting the murder of her son and the kidnapping

of his remains by Hamas in violation of the law of nations.




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       19.     Plaintiff Talik Gvili, an Israeli citizen, is the mother of Sergeant First Class Ran

Gvili, a patrol officer who was attacked and killed defending Kibbutz Alumim during the October

7 attack. Despite his injuries, Ran continued to engage his terrorist attackers, displaying

exceptional bravery. Hamas kidnapped Ran’s body and has held him hostage in Gaza ever since.

Ran was officially declared deceased on January 31, 2024. His family, enduring a prolonged period

of uncertainty, held onto hope until his death was confirmed. Talik brings a claim on her own

behalf and on behalf of her son under the Alien Tort Statute against Defendants for aiding and

abetting the murder of her son and the kidnapping of his remains by Hamas in violation of the law

of nations.

       20.     Roee Baruch, an Israeli citizen, is the brother of Uriel Baruch a 35-year-old father

of two who attended the Nova Music Festival in southern Israel on October 7. During the event,

Hamas terrorists launched a brutal attack, leading to Uriel’s abduction and subsequent captivity in

Gaza. At first, his family, including his brother Roee, held onto hope, believing Uriel was alive.

Tragically, in March 2024, the Israeli military informed them that Uriel had been killed on October

7 and that Hamas was holding his body captive in Gaza. Roee brings a claim on his own behalf

and on behalf of his brother under the Alien Tort Statute against Defendants for aiding and abetting

the murder of his brother and the kidnapping of his remains by Hamas in violation of the law of

nations.

       21.     James Poe, an Israeli citizen, is the father of Leo Poe, who was kidnapped by Hamas

terrorists from the Nova Music Festival on October 7. On the day of the massacre, Leo was serving

as a member of the festival’s security team alongside his close friends, who were murdered during

the attack. Hamas kidnapped Leo and took him to Gaza, where he remains to this day in an ongoing

act of terror. Poe brings a claim on his own behalf and on behalf of his son under the Alien Tort




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Statute against Defendants for aiding and abetting the kidnapping of his son by Hamas in violation

of the law of nations.

                                           THE DEFENDANTS

        22.      Defendant Nerdeen Kiswani is sued individually and as the representative of Within

Our Lifetime. Kiswani is the co-founder, chair, and de facto president of Within Our Lifetime,

which she founded in 2015 as “New York Students for Justice in Palestine.” In 2018, Kiswani

rebranded the organization to expand beyond students. Since then, Within Our Lifetime has been

an instrumental ally for Hamas that spreads propaganda, organizes violent and racist riots and

demonstrations, and promotes chaos and fear across New York City. Kiswani personally advocates

for the destruction of the State of Israel “by any means necessary” and has positioned herself as

one of the loudest pro-Hamas voices throughout New York City. Both Kiswani and her

organization, Within Our Lifetime, are responsible for inciting many of the most horrific, violent,

and hateful pro-Hamas riots through New York City.4

        23.      Defendant Maryam Alwan is sued individually and as the representative of

Columbia SJP. Columbia SJP is NSJP’s Columbia University affiliate. Columbia SJP was the

leading organizer of pro-Hamas disruptions, encampments, and riots on Columbia’s campus,

including virulent antisemitic protests that harassed and physically intimidated Jewish students

and faculty, glorified Hamas, engaged in dangerous premeditated unlawful acts, and significantly

impaired Columbia University’s ability to provide educational services to its students. These

indefensible activities led Columbia to suspend Columbia SJP in November 2023. But through

intermediaries, Columbia SJP continues operating covertly.



4
 Nerdeen Kiswani, CANARY MISSION (last visited May 25, 2025),
https://canarymission.org/individual/Nerdeen_Kiswani; Within Our Lifetime, Canary Mission (last visited May 25,
2025), https://canarymission.org/organization/Within_Our_Lifetime.


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        24.      On information and belief, Alwan is the president or de facto president of Columbia

SJP. The bases for the belief that Alwan leads Columbia SJP include that she has publicly identified

herself as an active member and organizer of Columbia SJP and has publicly described actions she

took for and on behalf of Columbia SJP consistent with her being its de facto leader. A documentary

featuring interviews with Alwan describes her as “a leader” of the organization. 5 A well-known

television host has described Alwan as “Lead Organizer, Columbia Students for Justice in

Palestine.”6 The Columbia Spectator described her as a “prominent member of the pro-Palestinian

student activist movement on campus.” 7

        25.      In March 2024, Columbia SJP challenged its suspension in a lawsuit captioned

Columbia Students for Justice in Palestine v. Columbia University in the City of New York

(“Columbia SJP v. Columbia”), No. 152220/2024 (Sup. Ct. N.Y. Cty. filed Mar. 11, 2024). The

petitioners were Alwan, Jones, Columbia SJP, and Columbia JVP. In that action, Alwan filed an

11-page, 52-paragraph sworn affirmation detailing her activities for and on behalf of Columbia

SJP.8 She admitted to “participat[ing] in the coordination of some actions and events” and

“speak[ing] with university administrators and staff and mak[ing] statements to the press on behalf

of SJP.”9 In total, the Alwan Affirmation refers to four separate occasions where she met with

Columbia administrators.




5
  Al-Jazeera, “The Palestine Exception: The crackdown on Israel criticism at Columbia and other US campuses,” at
2:34, https://www.youtube.com/watch?v=ziccxuAwJd4.
6
  Facebook (Joy Reid), https://www.facebook.com/joyreidofficial/posts/thank-you-maryam-alwan-lead-organizer-
columbia-students-for-justice-in-palestine/995804988574639/ (Apr. 22, 2024).
7
  Columbia Spectator, “Maryam Alwan, GS ’25, on heritage, humor, and having no regrets,”
https://www.columbiaspectator.com/news/2025/05/09/maryam-alwan-gs-25-on-heritage-humor-and-having-no-
regrets/ (May 9, 2025)
8
  Affidavit of Maryam Alwan dated March 11, 2024 (“Alwan Affirmation” or “Alwan Aff.”), Columbia SJP v.
Columbia, No. 152220/2024 (filed Mar. 11, 2024) (NYSCEF Doc. No. 3).
9
  Id. ¶ 7. The Alwan Affirmation uses “SJP” to means Columbia SJP. See id. ¶ 2 (“I am a member and organizer of
Students for Justice in Palestine (‘SJP’), a student organization at Columbia University.”)


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         26.      On October 11, 2023, she met with “Ms. Whalen-Turini,” who on information and

belief is Marnie Whalen-Turini, the Director of Student Engagement, Orientation, and Community

Programs at Columbia.10 The meeting evidently concerned student protests. Five days later, on

October 16, Alwan met with unspecified “administrators” to ask them to “protect us” from so-

called “doxing.”11 The Alwan Affirmation does not identify any other Columbia SJP members who

attended these meetings.

         27.      On November 30, Alwan met with a slate of senior university administrators “on

behalf of SJP.”12 The administrators present were “VP Rosberg [i.e., Gerald Rosberg, the then-

Senior Executive Vice President], Vice President Joseph Greenwell, and USL Dean Cristen

Kromm.”13 The subject of the meeting was the suspension of Columbia SJP and Columbia JVP.

No other person is identified as attending on behalf of Columbia SJP.

         28.      On January 8, 2024, Alwan attended yet another meeting with Columbia

administrators, including “Ms. Whalen-Turini, chair of the SGB Executive Board and SGB

delegate to the Student Group Adjudication Board (SGAB) Yanni Kent, USL Dean Kromm, and

Executive Director of Student Engagement Aaron Gomes.” 14 The “goal of this meeting,” according

to Alwan, “was for us to try and understand what the steps would be in order for SJP and JVP to

be reinstated.”15

         29.      Alwan also “maintain[s] access to SJP’s official email inbox, which is listed on the

university’s website for student organizations, as well as our Instagram account.” 16 Alwan also


10
   Id. ¶ 31.
11
   Id. ¶ 13, 12.
12
   Id. ¶ 36; see also id. ¶¶ 37–43.
13
   Id. ¶ 36.
14
   Id. ¶ 45.
15
   Id. ¶ 45, 46; see also id. ¶¶ 47–48. The Alwan Affirmation uses “JVP” to refer to Columbia JVP. See id. ¶ 6 (“SJP
also directly interacts with its University of Student Life (‘USL’) advisor, who, as of the fall 2023, it shared with
Barnard-Columbia Jewish Voice for Peace (‘JVP’).”).
16
   Id. ¶ 12.


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“monitor[s]” these accounts.17 According to a different Columbia SJP social media account, the

organization was “permanently banned” from Instagram around August 26, 2024, and its “account

was permanently deleted.”18

        30.      An attachment to the Alwan Affirmation indicates that she has received, at the

Columbia SJP email account she monitors, an email from Columbia administrators addressed to

“Student Group Leaders.”19 Finally, although Alwan reveals little information about Columbia

SJP’s internal meetings or workings, she identifies one instance in which she acted like a leader.

On October 18, when a Columbia SJP meeting was interrupted by noise, Alwan claims she “asked

everyone to take off their keffiyehs.”20

        31.      Defendant Cameron Jones is sued individually and as the representative of

Columbia JVP. Columbia JVP is the Columbia chapter of Jewish Voice for Peace (“JVP”), a

national “partner” of AMP/NSJP.21 JVP reportedly views itself as an “enemy” and “opponent” of

the Jewish community and sees its goal as creating “a wedge” within the American Jewish

community to create the impression of weakened Jewish support for the State of Israel. 22 Columbia

JVP often coordinates with Columbia SJP and, like its national partner, is used to provide a cover

so that AMP/NSJP affiliates can avoid allegations of antisemitism. Columbia JVP was suspended

from Columbia’s campus alongside Columbia SJP.



17
   Id. ¶ 31.
18
   Columbia Students for Justice in Palestine (@ColumbiaSJP), X,
https://x.com/ColumbiaSJP/status/1828099828301107294 (Aug. 26, 2024).
19
   Exhibit D to Alwan Aff. (NYSCEF Doc. No. 7) (emphasis added); Alwan Aff. ¶ 32.
20
   Alwan Aff. ¶ 14.
21
   Jewish Voice for Peace (@jvplive), X (Feb. 7, 2013), https://x.com/jvplive/status/299684288562081793; Jewish
Voice for Peace and American Muslims for Palestine Respond to Islamophobic Personal Attacks, JEWISH VOICE FOR
PEACE (last visited Mar. 23, 2025) https://www.jewishvoiceforpeace.org/2017/05/11/jvp-amp-respond-
islamophobic-pers.
22
   Driving a Wedge: JVPs Strategy to Weaken U.S. Support for Israel by Dividing the Jewish Community, NGO
Monitor (July 8, 2013), https://ngo-
monitor.org/reports/driving_a_wedge_jvp_s_strategy_to_weaken_u_s_support_for_israel_by_dividing_the_jewish_
community/.


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        32.      On information and belief, Jones is the president or de facto president of Columbia

JVP. The bases for the belief that Jones leads Columbia JVP include that he has publicly identified

himself as an active member and organizer of Columbia JVP and has publicly described actions

he took for and on behalf of Columbia JVP consistent with his being its de facto leader. Jones has

been described by NPR as “a leader of the Columbia demonstrations,” 23 and he has called himself

a “one of the lead organizers of Jewish Voice for Peace.” 24

        33.      Like Alwan, Jones acted as the face of his organization in Columbia SJP v.

Columbia. And like Alwan, Jones filed a lengthy sworn affirmation detailing his leadership

activities on behalf of Columbia JVP.25 Jones admitted to “participat[ing] in the coordination of

actions and events” and to “speaking with university administrators, and our student club

advisors.”26 Jones attended the November 30, 2023 meeting with university administrators

described in the Alwan Affirmation—apparently as the sole representative of Columbia JVP—

where he described himself to VP Rosberg as “a Jewish student who represents an organization of

Jewish people on campus.”27 Jones also attended the January 8, 2024 meeting described in the

Alwan Affirmation, where Jones discussed “our [i.e., Columbia JVP’s] suspension and the process

for reinstatement” with university administrators.28




23
   NPR, “The latest on student protests in New York City and around the country,”
https://www.npr.org/2024/05/01/1248545157/the-latest-on-student-protests-in-new-york-city-and-around-the-
country (May 1, 2024).
24
   YouTube, “Inside Columbia’s Crackdown on Pro-Palestine Free Speech | Rights This Way Podcast | NYCLU,”
https://www.youtube.com/watch?v=JQMxtPutHi8, at 7:29.
25
   Affidavit of Cameron Jones dated March 9, 2024 (“Jones Affirmation” or Jones Alwan Aff.”), Columbia SJP v.
Columbia, No. 152220/2024 (filed Mar. 11, 2024) (NYSCEF No. 9).
26
   Id. ¶ 12.
27
   Id. ¶ 39; see id. ¶¶ 35–42.
28
   Id. ¶ 47; see id. ¶¶ 46–48.


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        34.      Jones also “maintain[s] access to JVP’s official email inbox, which is listed on the

university’s website for student organizations, as well as our Instagram account.” 29

        35.      Defendant Mahmoud Khalil is sued individually and as the representative of

CUAD. Khalil is the public face and de facto president of CUAD. CUAD was originally founded

in 2016 as a collection of Columbia student organizations that supported the Boycott, Divest, and

Sanction (“BDS”) movement. CUAD remained largely dormant for years until November 2023

after Columbia SJP and Columbia JVP were suspended and began operating on campus through

CUAD. Since then, Khalil has been the public-facing leader of CUAD. Khalil (i) was among the

spokespeople for the so-called “Gaza Solidarity Encampment” (“Encampment”) at Columbia

University, a prolonged pro-Hamas propaganda effort; (ii) threatened “escalation” on behalf of

CUAD if its demands were not met; (iii) organized and led the actions of CUAD and Columbia

SJP and Columbia JVP, which operate through CUAD; and (iv) on information and belief, directly

coordinates with Hamas, AMP/NSJP, and/or other agents and affiliates of Hamas and related

foreign terrorist organizations. On March 9, 2025, Khalil was detained by U.S. Immigration and

Customs Enforcement pending his removal from the United States of America, upon information

and belief, based on many of his actions described in this Complaint. 30

        36.      Defendant Tarek Bazrouk is sued in his individual capacity. As detailed below,

Bazrouk, a longtime member of Within Our Lifetime, was recently arrested and charged with

federal hate crimes for violently attacking Jews at “protests” organized by the Associational

Defendants. According to federal authorities, Bazrouk’s phones contained extensive pro-Hamas

and antisemitic propaganda and messages. The government also revealed that Bazrouk recently


29
   Id. ¶ 12. The Jones Affirmation uses “JVP” to refer to Columbia JVP. See id. ¶ 2 (“I am a member and organizer
of the Columbia-Barnard Jewish Voice for Peace (‘JVP’).”).
30
   Mahmoud Khalil, CANARY MISSION (last visited Mar. 23, 2025),
https://canarymission.org/individual/Mahmoud_Khalil.


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traveled to the West Bank and Jordan, boasted about having family members in Hamas, and had

access to large, unexplained quantities of cash. Last month, Bazrouk pleaded guilty to conspiracy

to commit hate crimes arising out of his string of antisemitic attacks.

                                   JURISDICTION AND VENUE

        37.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1350.

        38.     This Court has personal jurisdiction under 18 U.S.C. §§ 2333(a) and 2334.

        39.     Venue is proper in this Court under 18 U.S.C. § 2334(a), which permits claims

under the Antiterrorism Act to be brought “in the district court . . . for any district where any

plaintiff resides or where any defendant resides.” The Defendants are New York residents

operating four unincorporated associations—Within Our Lifetime, Columbia SJP, Columbia JVP,

and CUAD—that are based in New York and operate exclusively in New York. 31

                                     FACTUAL ALLEGATIONS

I.      INTRODUCTION TO HAMAS

        40.     In 1987, after starting the “First Intifada”—a murderous string of terrorist attacks

directed at defenseless civilians—the International Muslim Brotherhood’s Gaza branch created

Hamas.32 Hamas rejects Israel’s right to exist. Instead, it engages in terrorism—“jihad”—to

implement an Islamist state “from the [Jordan] River to the [Mediterranean] Sea,” 33 a reference to

the entire State of Israel.

        41.     One of the primary purposes for Hamas’ terrorism, even from its inception, has

been to prevent Israel from building and developing global relationships, particularly as it pertains


31
   On information and belief, the Defendants also satisfy N.Y. Gen. Ass’n L. § 13.
32
   Kali Robinson, What is Hamas?, COUNCIL ON FOREIGN RELATIONS (last updated Oct. 17, 2024),
https://www.cfr.org/backgrounder/what-hamas.
33
   AMERICAN JEWISH COMMITTEE, “FROM THE RIVER TO THE SEA” (last visited May 25, 2025),
https://www.ajc.org/translatehate/From-the-River-to-the-Sea; ANTI-DEFAMATION LEAGUE, SLOGAN: “FROM THE
RIVER TO THE SEA PALESTINE WILL BE FREE” (Oct. 26, 2023), https://www.adl.org/resources/backgrounder/slogan-
river-sea-palestine-will-be-free.


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to its Arab neighbors. For this reason, Hamas’ largest waves of terror often coincide with disrupting

major peace negotiations or agreements between Israel and its neighbors. 34

        42.     On October 8, 1997, the U.S. State Department officially designated Hamas as a

foreign terrorist organization (“FTO”). Hamas’ FTO status has been reaffirmed twice. It remains

an FTO today.35

        43.     Hamas relies on a three-pronged strategy to pursue its terroristic aims:

                a.       First, Hamas uses indiscriminate, violent acts of terror against Israeli
                         civilians, including suicide bombings, shootings, stabbings, and rocket
                         attacks.36

                b.       Second, Hamas uses non-combatant Palestinians—its own people—as
                         human shields. For Hamas, this is a win-win scenario because after a terror
                         attack, Israel faces two impossible choices. Either Israel determines that the
                         risk of killing non-combatants in a defensive operation is too great and does
                         not engage in the operation, or Israel determines that the risk of not acting
                         is too great and engages in the operations. The latter allows Hamas to accuse
                         Israel of murdering the Palestinian civilians whom Hamas placed in the line
                         of fire.

                c.       Third, Hamas relies on propaganda to demonize Israel, glorify its
                         “resistance” efforts, and cast itself as a victim of mythical “settler-colonial”
                         oppressors—Israel and the Jewish people.

        44.     International propaganda, particularly propaganda directed at Western nations like

the United States, is central to Hamas’ strategy. Indeed, Hamas stresses the importance of

propaganda in its Charter:

                Our struggle against the Jews is very great and very serious. It needs
                all sincere efforts. It is a step that inevitably should be followed by
                other steps. The Movement is but one squadron that should be
                supported by more and more squadrons from this vast Arab and
                Islamic world, until the enemy is vanquished and Allah’s victory is

34
   David D. Kirkpatrick & Adam Rasgon, The Hamas Propaganda War (Oct. 30, 2023) (October 7 was “a
premeditated coup against the Arab-Israeli peace plan”), https://www.newyorker.com/news/news-desk/the-hamas-
propaganda-war.
35
   See CRS REPORT FOR CONGRESS, FOREIGN TERRORIST ORGANIZATIONS 27-30 (Feb. 6, 2004),
https://irp.fas.org/crs/RL32223.pdf.
36
   See generally HAMAS, THE COVENANT OF THE ISLAMIC RESISTANCE MOVEMENT (Aug. 18, 1988),
https://avalon.law.yale.edu/20th_century/hamas.asp.


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                realised. . . . In face of the Jews’ usurpation of Palestine, it is
                compulsory that the banner of Jihad be raised. To do this requires
                the diffusion of Islamic consciousness among the masses, both on
                the regional, Arab and Islamic levels. It is necessary to instill the
                spirit of Jihad in the heart of the nation so that they would confront
                the enemies and join the ranks of the fighters.

                It is necessary that scientists, educators and teachers, information
                and media people, as well as the educated masses, especially the
                youth and sheikhs of the Islamic movements, should take part in the
                operation of awakening (the masses). It is important that basic
                changes be made in the school curriculum . . . . The Crusaders
                realised that it was impossible to defeat the Moslems without first
                having ideological invasion pave the way by upsetting their
                thoughts, disfiguring their heritage and violating their ideals. Only
                then could they invade with soldiers.

                [We] hope[] that all these groupings will side with it in all spheres,
                would support it, adopt its stand and solidify its activities and
                moves, work towards rallying support for it so that the Islamic
                people will be a base and a stay for it, supplying it with strategic
                depth an all human material and informative spheres, in time and in
                place. This should be done through the convening of solidarity
                conferences, the issuing of explanatory bulletins, favourable articles
                and booklets, enlightening the masses regarding the Palestinian
                issue . . . so that these peoples would be equipped to perform their
                role in the decisive battle of liberation. 37

        45.     “Propaganda plays a critical role for Hamas as it seeks to shore up its popularity”

and is designed to “paint Israel as an oppressive occupier whose military operations and policies

harm Palestinians, especially innocent civilians, including children.” 38 Hamas’ terror-by-

propaganda strategy, which relies heavily on preexisting and historical hatred of Jews and

antisemitic biases, “transcends conventional warfare tactics, . . . generate[s] global condemnation




37
   HAMAS, THE COVENANT OF THE ISLAMIC RESISTANCE MOVEMENT (Aug. 18, 1988),
https://avalon.law.yale.edu/20th_century/hamas.asp.
38
   Daniel Byman & Emma McCaleb, Understanding Hamas’s and Hezbollah’s Uses of Information Technology,
CTR. FOR STRATEGIC & INT’L STUDS. (July 31, 2023), https://www.csis.org/analysis/understanding-hamass-and-
hezbollahs-uses-information-technology.


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of Israel, hamstring[s] the IDF’s operations, and protect[s] Hamas’ military capabilities under the

guise of civilian safety.”39

        46.      Today, Hamas is largely funded, trained, and controlled by the Islamic Republic of

Iran’s IRGC, another FTO. Hamas and the IRGC share the common goal of destroying Israel and

the United States.

II.     HAMAS’ AMERICAN PROPAGANDA DIVISION

                 A.      The “Palestine Committee”

        47.      In 1988, the Muslim Brotherhood and Hamas founded the “Palestine Committee”

to serve as Hamas’ terrorist funder and support enterprise in the United States. 40 The Palestine

Committee was a network of like-minded organizations that disregarded corporate forms and legal

requirements. The Palestine Committee directly coordinated with Hamas to help achieve its goals

in the United States. For example, in 1993, the FBI wiretapped a meeting between the Palestine

Committee and Hamas operatives in the United States that

                 show[s] internal discussions on how to improve activities in support
                 of Hamas within the US and how to shield them from the
                 designation of Hamas as a terrorist organization. US-based Hamas
                 activists agreed that hiding their affiliation and intentions was the
                 best tactic to avoid negative consequences. “I swear by Allah that
                 war is deception,” said one senior leader, “[d]eceive, camouflage,
                 pretend that you’re leaving while you’re walking that way. Deceive
                 your enemy.” “Let’s not hoist a large Islamic flag and let’s not be
                 barbaric-talking. We will remain a front so that if the thing [the U.S.
                 government ban on Hamas] happens, we will benefit from the new
                 happenings instead of having all of our organizations classified and
                 exposed.”41




39
   Joshua Klein, Exclusive: Renown Urban Warfare Expert John Spencer Warns ‘World Playing Into Hamas’s
Strategy’, BREITBART (Apr. 1, 2024), https://www.breitbart.com/politics/2024/04/01/exclusive-renown-urban-
warfare-expert-john-spencer-warns-world-playing-hamass-strategy/.
40
   Lorenzo Vidino, The Hamas Networks in America: A Short History, GW PROGRAM ON EXTREMISM, at 5, 7–8
(Oct. 2023), https://extremism.gwu.edu/sites/g/files/zaxdzs5746/files/2023-10/hamas-networks-final.pdf.
41
   Id. at 5.


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        48.     The wiretapped meeting centered around the Palestine Committee’s assurance to

Hamas that, following the Oslo Accords, it remained committed to promoting Hamas’ goal of

derailing Israel’s normalization and peace efforts by assisting on all fronts: financial,

informational, and political.

        49.     The Palestine Committee consisted of several organizations. Relevant here are the

Holy Land Foundation for Relief and Development (“HLF”) and the Islamic Association for

Palestine (“IAP”).42 HLF served as Hamas’ fundraising arm in the United States. IAP’s “primary

function was to serve as the public voice of Hamas in the United States.” 43

        50.     HLF and IAP were both founded and controlled by members of Hamas’ senior

leadership. For example, IAP was founded by Khaled Mashal, the current Acting Chairman of the

Hamas Political Bureau44; Mashal also served previously served as Hamas’ acting leader. 45 Mashal

described IAP as one of the “first pillars” of Hamas’ terrorist organization. 46 HLF and IAP were

financed by Mousa abu Marzook, a “Specially Designated Global Terrorist.” 47




42
   IAP had many alter egos, including but not limited to American Muslim Society. See Boim v. Am. Muslims for
Palestine, 9 F.4th 545, 548 (7th Cir. 2021).
43
   Matthew Levitt, Hamas: Politics, Charity, and Terrorism in the Service of Jihad, 151 (2006).
44
   Head of Hamas Abroad Khaled Mashal: Only Jihad Will Restore Our Rights, Memri (Mar. 10, 2025),
https://www.memri.org/tv/khaled-mashal-hamas-abroad-jihad-resistance-battlefield; Hamas’ Mashaal Rejects
Trump’s Gaza Plan, Vows to Pursue ‘Jihad and Resistance’, ISRAEL NATIONAL NEWS (Mar. 17, 2025),
https://www.israelnationalnews.com/news/405475; Hamas: What Has Happened to its Most Prominent Leaders?,
BBC (Jan. 21, 2025), https://www.bbc.com/news/world-middle-east-67103298; Mapping Palestinian Politics –
Khaled Mashal, EUROPEAN COUNCIL ON FOREIGN RELATIONS,
https://ecfr.eu/special/mapping_palestinian_politics/khaled_mashal/.
45
   TOI Staff, Who’s Next? Speculation Swirls on Who Will Take Over Hamas from Slain Sinwar, TIMES OF ISRAEL
(Oct. 18, 2024), https://www.timesofisrael.com/whos-next-speculation-whirls-on-who-will-take-over-hamas-from-
slain-sinwar/.
46
   Garry M. Servold, The Muslim Brotherhood and Islamic Radicalism, KNOW THY ENEMY: PROFILES OF
ADVERSARY LEADERS AND THEIR STRATEGIC CULTURES, at 61–62 (Barry R. Schneider & Jerrold M. Post eds.,
2003), https://www.airuniversity.af.edu/Portals/10/CSDS/Books/knowthyenemy3.pdf.
47
   OFFICE OF FOREIGN ASSET CONTROL, SANCTIONS LIST SEARCH: MOUSA ABU MARZOOK A/K/A ABU OMAR, ABU
UMAR, ABU RIZQ, https://sanctionssearch.ofac.treas.gov/Details.aspx?id=3754.


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        51.      In 2001, the United States Office of Foreign Asset Control designated HLF a

“Specially Designated Global Terrorist.”48 Then, in 2008, HLF and five of its leaders—often

referred to by Hamas and its allies as the “Holy Land 5”—were convicted of providing material

support to Hamas.49 Among many other things, evidence at trial established “numerous donation

checks” were “for Palestinian Mujahidden [martyrs] only.” 50

        52.      In December 2004, after IAP was found civilly liable for funneling money to

Hamas in violation of the ATA, IAP dissolved. 51

        53.      Hamas’ initial material support enterprise was so significant to Hamas that, on

October 9, 2023, Hamas officials explained that one of their goals for their October 7 terrorist

attack was the release of the terrorist financiers convicted in the HLF trial.

                 B.       AMP and NSJP

        54.      Shortly after the original material support enterprise for Hamas—including HLF

and IAP—was exposed, its architects resurrected the enterprise in a way that would more

effectively hide their actions. In 2006, several of the original enterprise’s key members founded

AMP to fill the gap left by the loss of IAP.

        55.      There is “significant overlap between AMP and people who worked for or on behalf

of organizations that were designated, dissolved, or held civilly liable by federal authorities for

supporting Hamas.”52


48
   OFFICE OF FOREIGN ASSET CONTROL, SANCTIONS LIST SEARCH: HOLY LAND FOUNDATION FOR RELIEF AND
DEVELOPMENT, https://sanctionssearch.ofac.treas.gov/Details.aspx?id=7116.
49
   See Press Release, Federal Judge Hands Down Sentences in Holy Land Foundation Case, U.S. DEP’T OF JUSTICE
(Mar. 27, 2009), https://www.justice.gov/opa/pr/federal-judge-hands-downs-sentences-holy-land-foundation-case.
50
   From Ivory Towers to Dark Corners: Investigating the Nexus between Antisemitism, Tax-Exempt Universities,
and Terror Financing: Hearing before the House Committee on Ways and Means, 118 Cong. (2023), at 8
(“Schanzer 2023 Congressional Testimony”), https://gop-waysandmeans.house.gov/wp-
content/uploads/2023/11/Schanzer-Testimony.pdf.
51
   See Boim v. Holy Land Found. for Relief & Dev., 549 F.3d 685, 701 (7th Cir. 2008).
52
   Israel Imperiled: Threats to the Jewish State: Joint Hearing before the Subcomm. on Terrorism, Nonproliferation,
and Trade & the Subcomm. on the Middle East and North Africa, 114 Cong. 156 (2016) (Statement of Jonathan


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        56.      Hatem Bazian, a former speaker and fundraiser for the Palestine Committee, is the

founder and Chairman of AMP and, while acting as a professor at the University of California at

Berkeley, founded the first Students for Justice in Palestine chapter. 53 Bazian believes that “[i]t is

about time we have an intifada in [the United States].” 54

        57.      Osama Abuirshaid, the Executive Director and National Board Member of AMP

was a former Board Member of IAP. Abuirshaid specializes in creating and publishing propaganda

for Hamas and its allies. He has interviewed Hamas leadership 55 and been featured on the website

of the al-Qassam Brigades: the military wing of Hamas. 56 In 2021, Abuirshaid spoke at a

conference alongside Leila Khaled (a convicted airplane hijacker), 57 Sami Khater (a Hamas co-

founder), and Mohammad Nazzal (a Hamas Senior Official and Specially Designated Global

Terrorist).58 Abuirshaid also regularly travels to Turkey, where he meets with Sami Al-Arian, who

was convicted in the United States in 2006 for providing material support to Palestinian Islamic




Schanzer) (“Schanzer 2016 Congressional Testimony”),
https://docs.house.gov/meetings/FA/FA18/20160419/104817/HHRG-114-FA18-Wstate-SchanzerJ-
20160419.pdf?ref=stanfordreview.org.
53
   Eitan Fischberger, The Long March of Radicalization, CITY JOURNAL (Oct. 16, 2023), https://www.city-
journal.org/article/the-long-march-of-radicalization; Daniel Mael, On Many Campuses, Hate is Spelled SJP, THE
TOWER (Oct. 2014), https://www.thetower.org/article/on-many-campuses-hate-is-spelled-sjp/.
54
   Hamas on Campus, Radical Hatem Bazian calls for Intifada (armed uprising) in the USA!!, YOUTUBE (Mar. 23,
2015), https://www.youtube.com/watch?v=Mfv5yaKxNgo.
55
   Osama Abuirshaid, The Dialectic of Religion and Politics in Hamas’s Thought and Practice (March 22, 2013)
(Ph.D. thesis, Loughboro University).
56
   Osama Abuirshaid, “‫[ ةﻏﺰ ﻣﺔوﺑﻤﻘﺎ نوﯾﻤﻜﺮ بﻋﺮ‬Arabs are plotting the Gaza resistance],” Al-Qassam (July 19, 2014),
archived version available at https://www.alqassam.ps/arabic/ - ‫نوﯾﻤﻜﺮ‬- ‫ﻣﺔوﺑﻤﻘﺎ‬- ‫تﻣﻘﺎﻻ ةﻏﺰ‬- ‫مﻟﻘﺴﺎا‬/4746 / ‫)ب ﺮ ﻋ‬.
57
   Head of Palestinian American lobby group joins conference with terror-group members, JEWISH NEWS
SYNDICATE (Dec. 3, 2021), https://www.jns.org/head-of-palestinian-american-lobby-group-joins-conference-with-
terror-group-members/.
58
   Id.; see also Press Release, Treasury Targets Key Hamas Leaders and Financiers, Department of Treasury (Nov.
19, 2024) (“[Nazzal] is a Hamas official who has provided support to the terrorist group for over 30 years. As a
senior leader serving on Hamas’s Council on International Relations, Nazzal represents Hamas’s interests to a
variety of international audiences.”), https://home.treasury.gov/news/press-releases/jy2720.


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Jihad, another FTO operating in Gaza. 59 Abuirshaid believes his travels to Qatar, which housed

Hamas’ leadership under recently, have placed him on a U.S. government terror watch list. 60

        58.      In 2010, AMP organized and sponsored the first ever National Students for Justice

in Palestine Convention at Columbia University to unite Students for Justice in Palestine (“SJP”)

chapters operating at different American colleges and universities. 61 At the convention, AMP

announced the creation of NSJP—AMP’s new on-campus program—designed to control the

management, financing, and messaging of SJP Chapters across the country. 62

        59.      NSJP has no formal corporate structure of its own but operates as AMP’s college

campus brand. AMP maintains organizational management and control of NSJP, and in 2022,

developed a new centralized approach that provides it with even more control over the affairs of

individual SJP chapters.63

        60.      Today, NSJP operates as an “umbrella organization” for American SJP chapters,

which allows AMP to push unified propaganda, messaging, and tactics to be deployed by each of

its subsidiary organizations while still maintaining the façade that SJP chapters are independent,

student-operated campus clubs. In reality, with NSJP as its central control apparatus, AMP uses

individual SJP chapters to serve as Hamas’ propaganda agents across college campuses.



59
   See @JSchanzer, X (formerly Twitter) (May 5, 2024, 10:04 AM),
https://x.com/JSchanzer/status/1787121140311171531; Press Release, U.S. Dep’t of Justice, Sami Al-Arian Pleads
Guilty To Conspiracy To Provide Services To Palestinian Islamic Jihad (Apr. 17, 2006),
https://www.justice.gov/archive/opa/pr/2006/April/06_crm_221.html.
60
   Abu Irshaid v. Garland, No. 1:24-cv-01405 (Docs. 1 & 19) (E.D. Va. filed Aug. 12, 2024); Ohad Merlin, Muslim
Brotherhood vs. United States of America? FBI Sued Over Alleged Terror Lists, JERUSALEM POST (Aug. 29, 2024)
https://www.jpost.com/international/islamic-terrorism/article-816997.
61
   Students for Justice in Palestine (SJP), ANTI-DEFAMATION LEAGUE (last visited Mar. 23, 2025),
https://www.adl.org/resources/backgrounder/students-justice-palestine-sjp.
62
   Charles Asher Small et al., Antisemitism Violent Extremism and the Threat to North American Universities: The
Contextualization of the National Students for Justice in Palestine, INSTITUTE FOR THE STUDY OF GLOBAL
ANTISEMITISM AND POLICY, at 12 (Oct. 2019) (“ISGAP 2019”), https://isgap.org/wp-content/uploads/2019/10/NSJP-
2019-ISGAP-Report-Long-Version.pdf.
63
   You Cannot Profit Off Our People’s Blood and Think Students Will Not Come For Your Money, HAMMER & HOPE
(Spring 2024), https://hammerandhope.org/article/palestine-college-students.


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        61.      NSJP and its individual affiliated chapters operate through a network of encrypted

messaging apps and email services often linked to international terrorism. 64 NSJP uses these

secretive means to guide local chapters with core principles of anti-Zionism and “anti-

normalization.”65 Some chapters even use pseudonymous names to hide their NSJP affiliations. 66

        62.      AMP openly fosters, controls, and develops campus activism through NSJP. For

example, a recent AMP annual conference featured a “Youth Program” that included an “SJP

Workshop.” The conference also included the “Campus Activism Track”—a specific program for

students—designed to increase “solidarity between SJP chapters.” 67

        63.      NSJP regularly (1) identifies itself as a supporter of, and sometimes even part of,

Hamas and its affiliates’ movement; (2) disseminates instructions from Hamas and other FTOs;

(3) hosts speakers that are Specially Designated Global Terrorists or affiliated with them; and (4)

provides direct aid to the same.

        64.      In addition, on information and belief, AMP also controls certain media accounts

for national JVP, an ostensibly Jewish organization that identifies itself as a “Partner” of

AMP/NSJP.68 AMP’s ultimate control of JVP and its individual chapters, like its control of NSJP

and individual SJP Chapters, appears to go further than a “Partnership.” Indeed, upon information

and belief, AMP has at least partial control over JVP and its individual chapters’ operations.


64
   Arno Rosenfeld, The Secret History and Uncertain Future of Students for Justice in Palestine, FORWARD (Dec.
20, 2023) https://forward.com/news/574014/students-for-justice-in-palestine-history-operations-network-national-
sjp/; Robert Graham, How Terrorists Use Encryption, COMBATING TERRORISM CENTER (June 2016)
https://ctc.westpoint.edu/how-terrorists-use-encryption/.
65
   Arno Rosenfeld, The Secret History and Uncertain Future of Students for Justice in Palestine, FORWARD (Dec.
20, 2023) https://forward.com/news/574014/students-for-justice-in-palestine-history-operations-network-national-
sjp/.
66
   Id.
67
   See @cat_amp, Instagram (last visited May 25, 2025), https://www.instagram.com/cat__amp/;
68
   Jewish Voice for Peace (@jvplive), X (Feb. 7, 2013), https://x.com/jvplive/status/299684288562081793; Jewish
Voice for Peace and American Muslims for Palestine Respond to Islamophobic Personal Attacks, JEWISH VOICE FOR
PEACE (Mar. 11, 2017) https://www.jewishvoiceforpeace.org/2017/05/11/jvp-amp-respond-islamophobic-pers.; Dr.
Hatem Bazian (@HatemBazian), X (May 12, 2023) (stating Bazian is “an ally an partner with Jewish Voice for
Peace), https://x.com/HatemBazian/status/1657078082589835264.


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       65.     In controlling these campus organizations, AMP has three major goals: (1)

normalize Hamas’ terrorism in Western academia and society through the use of expert propaganda

materials and threats of unlawful violent behavior; (2) recruit college students to support Hamas;

and (3) establish an environment on American college campuses where Jews are persona non grata

and violence against them is accepted, justified, and even lionized.

       66.     In short, AMP/NSJP are Hamas’ current material support enterprise. They not only

provide Hamas a public relations and propaganda division, but they also recruit foot soldiers to

engage in direct acts of violence, destroy property, disrupt critical academic and economic centers,

and generally incite fear and chaos in support of Hamas. The purpose of these actions is to (i)

intimidate and coerce the American people to forsake Israel and support Hamas; (ii) influence

United States policy through intimidation and coercion to shift away from Israel and toward

Hamas; and (iii) to affect the conduct of the United States government. These activities are

instrumental to Hamas’ short and long-term goal of weakening Israel and allowing Hamas to

engage in its acts of international terrorism with less resistance.

       67.     On information and belief, on April 8, 2023, Alwan attended a demonstration in

New York City organized by AMP, where she held a banner bearing AMP’s logo that stated, among

other things, “American Muslims for Palestine NJ condemns the theft of Palestinian land.” 69 On

information and belief, Jones also attended the April 8 demonstration organized by AMP. 70




69
   YouTube, “Free Palstine Demonstration / Times Square, NYC 4.8.23,” at 30:29,
https://www.youtube.com/watch?v=aRhgoC8iJLs&; @amp_newjersey & @ampalestine, INSTAGRAM (Apr. 9,
2023), https://www.instagram.com/p/Cq0oKTirCbw/?img_index=3.
70
   YouTube, “Free Palstine Demonstration / Times Square, NYC 4.8.23,” at 1:12,
https://www.youtube.com/watch?v=aRhgoC8iJLs&.




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                C.      The Associational Defendants

        68.     AMP/NSJP have been highly successful in achieving their goals in New York City

and on the campus of Columbia University. This is largely because of the aggressive, militant

approach taken by their local affiliates: Columbia SJP and Columbia JVP.

        69.     Columbia SJP provides AMP/NSJP with a presence on Columbia University’s

campus. For years, Columbia SJP has been one of the most active and aggressive NSJP campus

affiliates in the nation. With AMP/NSJP’s direction and support, Columbia SJP has hosted rallies,

invited terrorists to campus, incited riots, spearheaded BDS campaigns, and intentionally designed

its activities to intimidate Jewish students, faculty, and staff.

        70.     Columbia JVP, like Columbia SJP, has been one of the most active and aggressive

national JVP campus affiliates in the nation. AMP/NSJP has at least some significant control over

national JVP’s messaging and operations. It is thus not surprising that Columbia JVP maintains a

tight-knit relationship with Columbia SJP akin to the close relationship between their national

partners, which—again—are controlled by AMP/NSJP. Indeed, Columbia JVP partners with

Columbia SJP on most, if not all, of its most significant events supporting Hamas’ cause.

        71.     Columbia JVP is a valuable tool to AMP/NSJP—and to Hamas—because it allows

for dissemination of pro-Hamas propaganda through allegedly Jewish spokespersons, which helps

shield against allegations of antisemitism.

        72.     One of the principal components of the partnership between Columbia SJP and

Columbia JVP is their 2016 creation of CUAD. CUAD was initially founded by Columbia SJP and

Columbia JVP to create a partnership of numerous on-campus student organizations to support the

BDS movement against Israel. Though approximately 100 student organizations joined CUAD at




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one point or another, the organization has, at all relevant times, been primarily controlled by the

Columbia SJP and Columbia JVP.

        73.      While Columbia SJP, Columbia JVP, and CUAD provide AMP/NSJP with a

significant force on Columbia’s campus, Within Our Lifetime serves as AMP/NSJP’s chief

operating partner and ally throughout New York City as a whole.

        74.      Kiswani is a critical component of the AMP/NSJP ecosystem. In 2015, while

enrolled at the City University of New York School of Law, she helped found New York City

Students for Justice in Palestine. In 2018, Kiswani rebranded New York City Students for Justice

in Palestine as Within Our Lifetime, allowing her to expand the organization beyond students and

direct it to the city at large.

        75.      Within Our Lifetime, controlled by Kiswani, has, at all relevant times, affiliated

itself with Hamas, its original material support enterprise, and AMP/NSJP, Hamas’ current captive

propaganda firm. Among many other things, Within Our Lifetime has, long before October 7, (i)

incited violent riots in support of Hamas;71 (ii) disseminated a “toolkit” for Hamas protests that

parrots Hamas and AMP/NSJP chants and marketing materials such as “Globalize the Intifada!”

and “From Water to Water! Palestine is Arab!” 72; (iii) dedicated substantial efforts to AMP/NSJP’s

pet projects, such as demanding the release of the “Holy Land 5” and Sami Al-Arian 73; and (iv)

collaborates with Hamas-affiliated FTOs like the Popular Front for the Liberation of Palestine

(“PFLP”) and Samidoun.74



71
   See, e.g., Within Our Lifetime: The NYC Org Inciting its Activists to Violence, CANARY MISSION (last May 25,
2025), https://canarymission.org/campaign/NYC_Antisemitic_Violence.
72
   Within Our Lifetime, CANARY MISSION (last visited May 25, 2025),
https://canarymission.org/organization/Within_Our_Lifetime.
73
   Why Within Our Lifetime Supports the ‘Holy Land 5’, CANARY MISSION (last visited May 25, 2025),
https://canarymission.org/blog/Within_Our_Lifetime_Support_For_Holy_Land_Five.
74
   Within Our Lifetime, CANARY MISSION (last visited May 25, 2025),
https://canarymission.org/organization/Within_Our_Lifetime.


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        76.      On information and belief, on October 14, 2022, Alwan and Jones participated in a

demonstration in Times Square organized by Within Our Lifetime. 75

        77.      The Associational Defendants’ provision of propaganda and recruiting services for

Hamas is especially valuable to Hamas because New York City is a dense urban center and an

unparalleled hub for academia, economics, technology, media, entertainment, and the arts. It is

also home to the world’s largest Jewish population outside of Israel.

III.    HAMAS’ ACTS OF INTERNATIONAL TERRORISM

        A.       The October 7 Attack

        78.      On October 7, 2023, Hamas—in collaboration with the IRGC, PFLP, and other

terrorist organizations in Gaza—attacked Southern Israel. Hamas terrorists marched town to town,

house to house, and car to car with the sole aim of causing as much death, pain, and destruction as

possible. They brutalized, maimed, raped, and murdered entire families. 76 Much of Hamas’ worst

savagery was saved for women, children, infants, and the elderly.

        79.      Hamas also targeted the Nova Music Festival, where thousands of people—mostly

in their teens and early twenties—were gathered to not just enjoy music, but to celebrate the pursuit

of peace. Hamas terrorists, some using makeshift paragliders, a new tactic for Hamas, attacked the

Nova Music Festival, murdering more than 260 innocent festival goers. 77




75
   YouTube, “The NYC Emergency Action for Palestine Hosted by @WOLPalestine Times Square 10/14/2022
@amidounPP,” at 1:05, 32:07, https://www.youtube.com/watch?v=2XXV501E9i8; see also Instagram,
luigiwmorris, https://www.instagram.com/p/Cjt-2FAOkBd/?img_index=4 (fourth image).
76
   David Gritten, Israeli Report Says Hamas Sexual Violence ‘Systematic and Intentional’, BBC (Feb. 21, 2024),
https://www.bbc.com/news/world-middle-east-68365284; U.N. OFFICE OF THE SPECIAL REPRESENTATIVE OF THE
SECRETARY-GENERAL ON SEXUAL VIOLENCE IN CONFLICT, Mission Report: Official Visit of the Office of the SRSG-
SVC to Israel and the Occupied West Bank, 29 January – 14 February 2024 ¶ 12 (Mar. 4, 2024),
https://www.un.org/sexualviolenceinconflict/wp-content/uploads/2024/03/report/mission-report-official-visit-of-the-
office-of-the-srsg-svc-to-israel-and-the-occupied-west-bank-29-january-14-february-2024/20240304-Israel-oWB-
CRSV-report.pdf.
77
   What Is Known About Israeli Hostages Taken by Hamas, AM. JEWISH COMM. (Feb. 26, 2024),
https://www.ajc.org/news/what-is-known-about-israeli-hostages-taken-by-hamas.


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         80.      Hamas also kidnapped more than 200 civilians on October 7 and brought them back

to Gaza as hostages. In Gaza, hostages were murdered, tortured, raped, maimed, and otherwise

subjected to abhorrent conditions. As just one example, Hamas terrorists brutally murdered two

babies they took hostage, Ariel Bibas (four years old) and Kfir Bibas (nine months old), with their

bare hands.78 Hamas also mutilated and desecrated many of the bodies of those whom they

kidnapped and murdered.79

         81.      Hamas continues to hold hostage the bodies of those they have murdered. To this

day, Hamas holds dozens of hostages, living and deceased. Hamas has refused and continues to

refuse to release either living hostages or the remains of those they murdered unless Israel accedes

to its political demands.80

         82.      The victims of these unspeakable crimes include:

                  a.       Judith Lynne Weinstein Haggai and Gad Haggai, who were kidnapped and
                           murdered by Hamas, and their daughter Iris Weinstein Haggai, who has
                           suffered immeasurable mental and emotional distress over the crimes
                           against her parents;

                  b.       Yonatan Samerano, who was murdered by Hamas, and his mother Ayelet
                           Samerano, who has suffered immeasurable mental and emotional distress
                           over the crimes against her son;

                  c.       Ran Gvili, who was murdered by Hamas and whose body is still held
                           hostage, and his mother Talik Gvili, who has suffered immeasurable mental
                           and emotional distress over the crimes against her son;


78
   “In Cold Blood”: Hamas Murdered Bibas Children with Bare Hands, Sent Unidentified Body in Place of Shiri
Bibas, FOUNDATION FOR DEFENSE OF DEMOCRACY (Feb. 21, 2025), https://www.fdd.org/analysis/flash-
briefs/2025/02/21/in-cold-blood-hamas-murdered-bibas-children-with-bare-hands-sent-unidentified-body-in-place-
of-shiri-bibas/.
79
   I Can’t Erase All the Blood From My Mind: Palestinian Armed Groups’ October 7 Assault on Israel, Human
Rights Watch (July 17, 2024), https://www.hrw.org/report/2024/07/17/i-cant-erase-all-blood-my-mind/palestinian-
armed-groups-october-7-assault-israel; Emma Bubola et al., Shani Luk, Believed Kidnapped, Was Likely Dead When
She Was Taken By Hamas, Family Says, New York Times (Oct. 30, 2023) (“Maybe there can be comfort by the
thought she died fast and the abuse to her body was perhaps done when she was already gone.”),
https://www.nytimes.com/2023/10/30/world/middleeast/shani-louk-german-israel-woman-hamas-dead.html.
80
   See, e.g., Hamas lays out terms for hostage release while health officials say Israeli strikes killed 9 in Gaza, PBS
NEWS (Mar. 15, 2025), https://www.pbs.org/newshour/world/hamas-lays-out-terms-for-hostage-release-while-
health-officials-say-israeli-strikes-killed-9-in-gaza.


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                d.     Uriel Baruch, who was murdered by Hamas and whose body is still held
                       hostage, and his brother Roee Baruch, who has suffered immeasurable
                       mental and emotional distress over the crimes against his brother;

                e.     Shlomi Ziv, who was kidnapped and held hostage for 246 days until his
                       recovery in a rescue operation; and

                f.     Leo Poe, who was kidnapped by Hamas and remains a hostage to this day,
                       and James Poe, who has suffered immeasurable mental and emotional
                       distress over the crimes against his son.

          B.    Attacks on Israelis

          83.   Following October 7, Israel commenced military operations in Gaza, including air

strikes and ground attacks. Hamas terrorists have engaged in countless attacks against Israeli

forces.

          84.   As an FTO, Hamas is not a lawful military force and cannot engage in lawful acts

of war. Every attack by Hamas is an individual act of international terrorism as well as part of the

ongoing, continuing act of international terrorism that began on October 7.

          85.   Hamas continuously engaged in innumerable acts of international terrorism against

innocent civilians, primarily by launching rockets at their homes and communities. These ongoing

attacks force civilians to evacuate and, in some cases, abandon their homes, and seek safety in

bomb shelters. These attacks cause widespread fear and panic.

          86.   Plaintiff John Doe was among those who fought Hamas in Gaza. Doe left his studies

at Columbia Law School to serve in the Israeli military and spent 100 days fighting against Hamas.

As a result of his combat experience, Doe suffered mental anguish, pain, and suffering. He

continues to suffer from the effects of these injuries and continues to suffer ongoing mental and

emotional trauma.

          87.   Plaintiff Richard Roe paused his studies at Columbia University to serve with the

IDF following October 7. Within 24 hours of landing in Israel, he was deployed to the Gaza



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Envelope, where he was repeatedly shot at by Hamas terrorists. As a result of his combat

experience, Roe suffered mental anguish, pain, and suffering. He continues to suffer from the

effects of these injuries and continues to suffer ongoing mental and emotional trauma.

        88.     On October 7, the younger brother of Plaintiff Jane Moe, a Columbia student, was

deployed to Gaza, where he fought against Hamas for over a year and sustained injuries in battle.

As a result, Moe has experienced severe emotional distress, exacerbated by the demonstrations on

Columbia’s campus that glorified the terrorists who had harmed her brother.

        89.     Each of the crimes above is an individual act of international terrorism. And viewed

collectively, all the foregoing conduct, commencing on October 7 and lasting through today,

constitutes a continuous act of international terrorism.

        90.     These acts of international terrorism were intended to prevent Israel from

normalizing its relationships with its Arab neighbors. Hamas and its puppet master, the IRGC, are

threatened by the success of the Abraham Accords, a landmark peace deal between Israel and

several of its Arab neighbors, including for example the United Arab Emirates, negotiated and

finalized during the first Trump administration. Shortly before the events of October 7, it became

apparent that Israel was preparing to normalize relations with Saudi Arabia, arguably the single

most diplomatically relevant Arab nation and Iran’s chief geopolitical foe. Indeed, Hamas has

expressly admitted that its attack was designed to “land[] a blow to the normalization [of relations

between Israel and its Arab neighbors]. What happened before will not be the same after this

operation. This was one of the operation’s goals.”81




81
  Velina Tchakarova (@vtchakarova), X (Oct. 21, 2023, 7:36 AM),
https://x.com/vtchakarova/status/1715693654197579867; see also Marcus Walker and Summer Said, Hamas
Wanted to Torpedo Israel-Saudi Deal with Oct. 7 Attacks, Documents Reveal, WALL STREET JOURNAL (May 18,
2025).


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IV.     HAMAS’ CALL TO ACTION

        91.      Within hours of its October 7 attack, Hamas issued a call for mass mobilization of

its “resistance abroad” to “join the battle in any way they can.” 82 Indeed, “within hours of its attack

on October 7, Hamas’ Qatar-based politburo web operatives flipped the switch on a slickly

produced global social media disinformation campaign calculated to trigger an outpouring of pro-

Palestinian/anti-Israel sentiment across global social media platforms to amplify (and justify)

Hamas’ terror.”83 Khaled Mashal—who founded IAP, AMP/NSJP’s predecessor in Hamas’

American material support enterprise—headed this campaign and told Hamas’ global supporters

that they should be “part of this battle.”84

                 The initial disinformation flood was in Arabic directed at Arab
                 social media sites to create sympathy for Hamas for its ‘defense’ of
                 Jerusalem’s Muslim holy places and its ‘justified’ struggle to free
                 Palestinian prisoners jailed in Israel. But its second phase unleashed
                 tens of thousands of fake disinfo[rmation] bots in other languages to
                 push the Hamas anti-Israel/antisemitic narrative. 85

        92.      Hamas has issued express guidelines detailing how its propagandists should “play

their part in strengthening the home front and in properly conveying information worldwide.” 86

Indeed, in the wake of October 7, a pro-Hamas manifesto titled “Our Narrative” was released.

Bearing a logo reading “Hamas Media Office,” the “Our Narrative” document provides Hamas’


82
   Al-Jazeera Airs Hamas Leader Ismail Haniyeh’s Statement On Hamas’s Invasion Of Southern Israel: I Call On
Palestinians In The West Bank, Israeli Arabs, And The Entire Nation Abroad To Join The Battle; To The Enemy I
Say: Get Out Of Our Land!, MEMRI TV (Oct. 7, 2023), https://www.memri.org/tv/hamas-leader-ismail-haniyeh-
statement-jazeera-operation-aqsa-deluge-palestinains-west-bank-israel-abroad-join-battle.
83
   COALITION FOR A SAFER WEB, THE HAMAS “INFLUENCER” INTIFADA (NOV. 16, 2023) (“CSW Report”),
https://coalitionsw.org/the-hamas-influencer-intifada/.
84
   Former Hamas Leader Khaled Mashal Calls For ‘Friday Of The Al-Aqsa Flood’: Muslims Should Take To The
Streets Worldwide, Join The Battle; The West, America, Zionists Will See Convoys Of Mujahideen On Their Way To
Palestine, MEMRI TV (Oct. 10, 2023), https://www.memri.org/tv/fmr-hamas-leader-calls-muslims-world-join-
battle-palestine.
85
   COALITION FOR A SAFER WEB, THE HAMAS “INFLUENCER” INTIFADA (NOV. 16, 2023) (“CSW Report”),
https://coalitionsw.org/the-hamas-influencer-intifada/.
86
   IDF Editorial Team, Hamas Social Media Rules: Describe Terrorists as Innocent Civilians, ISRAEL DEFENSE
FORCES (July 21, 2014), https://www.idf.il/en/mini-sites/the-hamas-terrorist-organization/hamas-social-media-rules-
describe-terrorists-as-innocent-civilians/.


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propaganda network with precise analyses for how to spin the story and was, on information and

belief, created by or in coordination with Hamas. 87

        93.     The Associational Defendants not only obtained and disseminated Hamas’ “Our

Narrative” propaganda document, but painstakingly followed it. In doing so, they directly

responded to, and followed orders from, Hamas, an FTO.

V.      THE NSJP TOOLKIT

        94.     On October 8, 2023, in direct response to Hamas’ “call for mass mobilization,”

AMP/NSJP disseminated the NSJP Toolkit to its chapters and affiliates, including upon

information and belief Columbia SJP, Columbia JVP, and Within Our Lifetime. 88

        95.     The NSJP Toolkit uses the euphemism “the resistance” and similar phrases to refer

to Hamas and the other terror organizations working under its command:

                Referred to as Operation Towfan Al-Aqsa (Al-Aqsa Flood), the
                resistance has taken occupation soldiers hostage, fired thousands of
                rockets, taken over Israeli military vehicles, and gained control over
                illegal Israeli settlements. In the West Bank, the Palestinian
                resistance has called for collective action by the Palestinian masses
                amidst attempts by the Zionist entity to lock-up the West Bank.

                ...

                Today, we witness a historic win for the Palestinian resistance:
                across land, air, and sea, our people have broken down the artificial
                barriers of the Zionist entity . . . As the Palestinian student
                movement, we have an unshakable responsibility to join the call for
                mass mobilization.89

        96.     The NSJP Toolkit demands that its members, allies, and affiliates “not only support,

but struggle alongside our people back home … and above all normalize and support our




87
   Our Narrative … Operation Al-Aqsa Flood, HAMAS MEDIA OFFICE, as published by the Palestine Chronicle:
https://www.palestinechronicle.com/wp-content/uploads/2024/01/PDF.pdf.
88
   The NSJP Toolkit is attached as Exhibit 3.
89
   Id. at 1.


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fearless resistance.”90 To do so, AMP/NSJP demand that their followers “normalize the

resistance”—Hamas—by arguing that

                 Liberation is not an abstract concept. . . . [L]iberating colonized
                 land is a real process that requires confrontation by any means
                 necessary. In essence, decolonization is a call to action . . . It calls
                 upon us to engage in meaningful actions that go beyond symbolism
                 and rhetoric. Resistance comes in all forms—armed struggle,
                 general strikes, and popular demonstrations. All of it is legitimate,
                 and all of it is necessary. (emphases added) 91

        97.      The NSJP Toolkit urges AMP/NSJP to provide “real” support to Hamas and their

allies not just through arguments and rhetoric, but also through “confrontation” that can include,

among other things, “armed struggle” and violence.

        98.      Then, AMP/NSJP describes the existence of a “Unity Intifada” that is “cross-

factional” and operating “under unified command” in Gaza; the only entity operating any

resemblance of a “unified command” of terrorist organizations in Gaza is Hamas. 92

        99.      Rather than describe themselves as supportive of, affiliated with, or spiritually

connected to Hamas’ Unity Intifada, AMP/NSJP identify themselves as “PART of this movement

[Hamas’ Unity Intifada], not in solidarity with this movement.”93

        100.     Next, the NSJP Toolkit provides its chapters with graphics and marketing materials

to advertise the “Day of Resistance” and other events. These graphics include, among many other

violent images, artistic renderings of Hamas paragliders, which Hamas used for the first time on

October 7 to infiltrate Israel and murder innocent civilians at the Nova Music Festival. 94


90
   Id.
91
   Id. at 4; see also Sheera Frenkel & Steven Lee Myers, Antisemitic and Anti-Muslim Hate Surges Across the
Internet, N.Y. TIMES (Nov. 15, 2023), https://www.nytimes.com/2023/11/15/technology/hate-speech-israel-gaza-
internet.html.
92
   Ex. 1, at 4.
93
   Id.
94
   Id. at 5; Gareth Jennings, Hamas Uses Paragliders to Breach Israeli Border, JANES (Oct. 9, 2023) (“Videos
posted online showed multiple powered paragliders being used in the attack, in what was not just a first for Hamas
and the wider Palestinian movement, but also the first known military use of such aircraft globally.”),


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         101.     Lastly, AMP/NSJP directed their chapters to endorse the “Towfan Al-Aqsa

Statement.”95 “Towfan Al-Aqsa” (“Al-Aqsa Flood”) was the codename for Hamas’ October 7

attack. The Towfan Al-Aqsa Statement was drafted by NSJP’s University of California at Berkeley

chapter, Bears for Palestine, “as a chapter of the united coalition of Students for Justice in

Palestine.”96 It demands that SJP chapters pledge loyalty to the cause and declare their

“unwavering support of the resistance in Gaza [Hamas].” 97




https://www.janes.com/osint-insights/defence-news/air/hamas-uses-paragliders-to-breach-israeli-border; Steve
Trimble, Hamas Paragliders Join Surprise Assault on Israel, Aviation Week Network (Oct. 7, 2023) (“Hamas
fighters breached Israel’s southern border from the Gaza Strip using powered paragliders for the first time on Oct. 7
as part of a widespread, surprise invasion and barrage of unguided rocket attacks.”),
https://aviationweek.com/defense/budget-policy-operations/hamas-paragliders-join-surprise-assault-
israel#:~:text=Hamas%20fighters%20breached%20Israel%E2%80%99s%20southern,declaring%20a%20state%20o
f%20war.
95
   The Towfan Al-Aqsa Statement is attached as Exhibit 4.
96
   Id.
97
   Id.


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         102.     The Towfan Al-Aqsa Statement declares support for the signatories’ “comrades in

blood and arms”—a phrase from an FTO-affiliated Telegram channel called “Resistance News

Network”—intended to refer to Hamas and its affiliates. 98 The Towfan Al-Aqsa Statement closes:

                  We support the resistance [Hamas], we support the liberation
                  movement, and we indisputably support the Uprising.

                  Gaza is the cradle of our resistance and the lifeblood of our
                  struggle. . . . From the River to the Sea, we will come to support
                  resistance [Hamas] until we are able to return home to a unified
                  Palestine. Glory to Palestine, glory to the resistance [Hamas], and
                  glory to our martyrs.99

         103.     On information and belief, AMP/NSJP distributed the NSJP Toolkit to the

Associational Defendants. The bases for that belief include the close connections among

AMP/NSJP and Associational Defendants detailed above. More than that, the Associational

Defendants promptly enacted the Toolkit to the letter.

         104.     As directed by the NSJP Toolkit, Columbia SJP signed the Towfan Al-Aqsa

Statement “in unison” with NSJP and Bears for Palestine. A note at the bottom of the Towfan Al-

Aqsa Statement confirms that the document was disseminated, drafted, and “signed in unison” by

83 signatories, including Columbia SJP, by October 7, 2023, at 3:00pm PST. 100

         105.     On information and belief, Associational Defendants had prior knowledge of the

October 7 attack. The bases for that belief include the timing of the NSJP Toolkit’s distribution

and the signing of the Towfan Al-Aqsa Statement. The bases also include the Toolkit’s inclusion

of paraglider graphics. And as to Columbia SJP, the bases also include a highly suggestive social

media post. Although the precise timing is uncertain, Columbia SJP posted on Instagram “We are


98
   Id. The Resistance News Network Telegram Chat is attached as Exhibit 5. Telegram is a communications
platform with social media, direct messaging, and chatroom capabilities.
99
   Ex. 2.
100
    Id. (“Note: As of post October 7, 2023 at 3pm PST, if you/your organization wishes to sign on, please use this
link to record your organization’s name as wished to appear in the signature list, and we will manually add it to the
growing list. Thank you for your support and solidarity.”).


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back!!” a short time before the October 7 attack began. It also stated that its first meeting of the

semester would be announced soon, even though the semester had started over a month ago, and

that viewers should “Stay tuned.” Before the post, Columbia SJP’s Instagram account had been

dormant for months. As noted above, see supra ¶ 29, Columbia SJP’s Instagram account was

permanently deleted around August 26, 2024.

         106.     Like Columbia SJP, Within Our Lifetime promptly answered Hamas’ call. It issued

a statement on October 7 that it “support[s] Palestinian resistance in all its forms. By any means

necessary. With no exceptions and no fine print.”101 Contemporaneously, before the NSJP Toolkit

was even released, Kiswani, on behalf of Within Our Lifetime, called for an “Emergency Rally for

Gaza” using the marketing materials that would not be released until the next day. 102




                                                  NSJP Toolkit




101
    Who Are the Primary Groups Behind the U.S. Anti-Israel Rallies?, ANTI-DEFAMATION LEAGUE (last visited May
25, 2025), https://abcnews.go.com/International/hamas-day-rage-protests-break-middle-east/story?id=103955873.
102
    Within Our Lifetime collaborated with Samidoun on the event. Samidoun was, at the time, identified by several
other nations as a terrorist organization. The United States labeled Samidoun a terrorist organization on October 15,
2024. United States and Canada Target Key International Fundraiser for Foreign Terrorist Organization PFLP,
U.S. DEP’T OF TREASURY (Oct. 15, 2024), https://home.treasury.gov/news/press-releases/jy2646.


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                      Kiswani/ Within Our Lifetime Post – October 7, 2023

VI.    THE ASSOCIATIONAL DEFENDANTS ENACT THE NSJP TOOLKIT

       107.    After receiving the NSJP Toolkit, the Associational Defendants promptly leapt into

action to knowingly assist Hamas with the provision of pro-Hamas propaganda.

       108.    These actions, as described below, substantially assisted Hamas in its ability to

engage in its post-October 7 acts of international terrorism by disseminating propaganda and

espousing a worldview to an impressionable Western audience that may not understand the evil of

Hamas and its intentions or recognize lies about the State of Israel.




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                 A.       The Fall 2023 Semester

        109.     Immediately after its October 7 attack, Hamas called on its supporters to join in a

“Day of Rage” scheduled for the next week. 103 In the NSJP Toolkit, AMP/NSJP called on their

supporters to join in a “Day of Resistance” on the same day. 104

        110.     Columbia SJP and Columbia JVP began promoting their “Day of Resistance” and

Within Our Lifetime began promoting its “Day of Rage”105 across New York City and on

Columbia’s campus. These Days of Rage events, coordinated by Columbia SJP and Within Our

Lifetime, have continued unabated.106 The advertisements for these events included clear

references to many materials that were, on information and belief, produced and provided by

AMP/NSJP and even Hamas itself.

        111.     Even before the Day of Rage/Resistance, its mere announcement had its intended

effect. Jewish Day Schools and other Jewish institutions throughout the United States, including

in New York City, shut their doors and New York City government, recognizing a legitimate

potential threat to these institutions, emphasized that it would fully mobilize law enforcement to

ensure the safety and security of Jewish New Yorkers. 107 The threat from the Day of

Rage/Resistance even forced Columbia University—a non-Jewish institution—to close its campus




103
    Meredith Deliso, Hamas ‘Day of Rage’ Protests Break Out in Middle East and Beyond, ABC NEWS (Oct. 13,
2023), https://abcnews.go.com/International/hamas-day-rage-protests-break-middle-east/story?id=103955873.
104
    Ex. 1.
105
    Within Our Lifetime has used the “Day of Rage” language that Hamas uses since before October 7. See, e.g.,
Within Our Lifetime (@WOLPalestine), X (Oct. 13, 2022, 2:27 PM).
106
    National Students for Justice in Palestine (@NationalSJP), X, (May 6, 2024, 12:23 AM),
https://x.com/NationalSJP/status/1787337411946561692; Documenting Jew Hatred on Campus at Columbia U
(@CampusJewHate), X, (June 9, 2024, 11:19 AM), https://x.com/CampusJewHate/status/1799823595910127850.
107
    Haley Cohen et al., Jewish Institutions on Edge After Hamas Call for Worldwide ‘Day of Rage’, JEWISH INSIDER
(Oct. 13, 2023), https://jewishinsider.com/2023/10/hamas-day-of-rage-jewish-schools-synagogues-u-s/.


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as a safety precaution.108 Jewish students at Columbia University and Barnard College were

advised to lock their doors and remain inside for their own safety. 109

         112.     On October 9, 2023, Columbia SJP issued its own separate statement of “full

solidarity” with the “Resistance” (Hamas). 110

         113.     Columbia SJP and Within Our Lifetime’s Day of Rage/Resistance events were

filled with the exact sort of hateful, violent rhetoric that Hamas and AMP/NSJP demanded. 111

Khalil led Columbia SJP’s Day of Resistance. 112




108
    Jocelyn Gecker, et al., The Israel-Hamas War Has Roiled US Campuses. Students on Each Side Say Colleges
Aren’t Doing Enough, ASSOCIATED PRESS (Oct. 15, 2023), https://apnews.com/article/israel-hamas-war-college-
free-speech-543aff623d5f54ad6529fe598ae48271.
109
    https://www.facebook.com/cbhillel/posts/pfbid02rvwDFCdGb9VNFcuecUr5mCphhHm7dDwthBAkf43VpFn5ALTW9499erbcq3wQMYvsl.
110
    Eden Yadegar, Written Testimony Before the United States House of Representatives Committee on Education &
the Workforce “Roundtable with Jewish Students Impacted by Antisemitism”, at 5 (Feb. 29, 2024).
111
    US Campuses in Uproar as Israel-Palestine Conflict Exposes Divide, THE GUARDIAN (Oct. 13, 2023),
https://www.theguardian.com/world/2023/oct/13/us-campuses-in-uproar-as-israel-palestine-conflict-exposes-divide
112
    Canary Mission (@CanaryMission), X (Mar. 13, 2025, 11:16 AM),
https://x.com/canarymission/status/1900204396681535501.


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        114.     Alwan took part in similar events on October 12 and October 25. 113 According to

Alwan, at the October 25 event, she “personally tried to hand VP Rosberg a handout with our four

demands, chants, and a barcode to call representatives for a ceasefire . . . .”114

        115.     On October 29, 2023, Hamas applauded and celebrated “the masses who

demonstrated in American cities and Western capitals in solidarity with Gaza,” many of which

were orchestrated by Associational Defendants.115 Hamas also called on its followers to “continue

their movement in solidarity with the Gaza Strip and in support of the justice of our national cause,

and to escalate all forms of popular pressure.”

        116.     On October 30, 2023, Hamas, the PFLP, and several other FTOs put out a new call

for the “masses of our people throughout occupied Palestine to escalate all forms of resistance and

struggle against the Zionist enemy, targeting its soldiers and settlers.” 116 At the same time, they

addressed their supporters abroad and called for “the free people of the world to continue their

movements to stop the American-Zionist aggression.” 117

        117.     The next day, AMP/NSJP responded by advertising a “Week of Action for Gaza.”

Columbia SJP and Columbia JVP participated in the Week of Action for Gaza. 118

        118.     On November 5, 2023, PFLP, a Hamas-affiliated FTO, called on supporters “to

continue the unprecedented mass mobilizations in the capitals and cities of the world, especially




113
    Alwan Aff. ¶ 29.
114
    Id.
115
    Mario Nawfal (@MarioNawfal), X (formerly Twitter) (Oct. 29, 2023, 2:06 PM),
https://twitter.com/MarioNawfal/status/1718690673749103082.
116
    Democratic Front for the Liberation of Palestine, Hamas (Islamic Resistance Movement), Palestinian Islamic
Jihad, Popular Front for the Liberation of Palestine, and Popular Front for the Liberation of Palestine – General
Command, Palestinian joint statement: ‘Escalate all forms of resistance,’ International Action Center,
INTERNATIONAL ACTION CENTER (Oct. 30, 2023) https://iacenter.org/2023/10/31/palestinian-joint-statement-escalate-
all-forms-of-resistance/.
117
    Id.
118
    National SJP (@nationalsjp), INSTAGRAM (OCT. 31, 2023),
https://www.instagram.com/p/CzENKGiLKdO/?img_index=1.


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in the United States, Britain, France and Berlin . . . . These have proven their effectiveness and

strong impact, and what we are witnessing of changes in the official Western discourse indicates

the strength and impact of this pressure and confirms that we are facing important transformations

in public opinion.”119

         119.     The same day, AMP/NSJP announced a “Shut it Down for Palestine” campaign

scheduled to begin on November 9, 2023. Columbia SJP, Columbia JVP, and CUAD organized a

“Shut it Down for Palestine” event.120 Columbia SJP advertised the campaign and the event on its

Instagram account, directing students to gather at Columbia’s Low Library. Columbia JVP likewise

promoted the event on its Instagram account. 121

         120.     The “Shut it Down for Palestine” event descended into—as planned—antisemitic

and vitriolic hatred and threats. At the rally, speakers shouted for “Death to Jews!” and other hateful

rhetoric; they also encouraged Hamas and AMP/NSJP’s “comrades” across Columbia’s campus to

hunt down and attack pro-Israel Columbia students.

         121.     Alwan and Jones both attended “Shut It Down for Palestine.”122 As Alwan describes

it, she and the other attendees chanted slogans including “From the river to the sea, Palestine will

be free.”123

         122.     Alwan claims that “aspects of the protest . . . reminded us of the ongoing

surveillance and resistance by the administration to our advocacy efforts.” As an example of the


119
    Popular Front for the Liberation of Palestine, Popular Front for the Liberation of Palestine: ‘We are on the
threshold of achieving a historic victory,’ INTERNATIONAL ACTION CENTER (released on Nov. 5, 2024),
https://iacenter.org/2023/11/10/popular-front-for-the-liberation-of-palestine-we-are-on-the-threshold-of-achieving-a-
historic-victory/.
120
    Columbia Law Coalition for a Free Palestine (@clsforfreepalestine), I NSTAGRAM (Nov. 9, 2023) (reposting flyer
created by CUAD), https://www.instagram.com/clsforfreepalestine/p/CzalpLGgyTZ/?locale=nl&hl=ar; Jones Aff.
¶ 19.
121
    Jones Aff. ¶ 19.
122
    Alwan Aff. ¶¶ 18–29; see also Exhibit B to Alwan Aff. (Nov. 8, 2023 email Alwan received from university
administrators regarding the “upcoming ‘Shut It Down’ event”) (NYSCEF No. 5); Jones. Aff. ¶¶ 28–29.
123
    Alwan Aff. ¶ 26.


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administration’s supposed “resistance,” Alwan cites observing VP Rosberg “standing with a group

of counter-protestors who were holding a poster saying ‘no ceasefire until the hostages are returned

and hamas is destroyed’ with his arms crossed, as I had seen him doing at every other protest

prior.”124

        123.     Alwan found the event “cathartic” and Jones found it “impactful.” 125

        124.     The next day, November 10, 2023, Columbia suspended Columbia SJP and

Columbia JVP for, among other things, “threatening rhetoric and intimidation.” 126 Within Our

Lifetime responded by calling for an “an emergency protest” against the “suspension of SJP &

JVP.”127

        125.     Despite their suspension, Columbia SJP and Columbia JVP continue to lead CUAD

and operate under its name.128 Khalil and former members and/or organizers of Columbia SJP

became leaders of CUAD. Over 80 of CUAD signatory chapters have continued with the CUAD

Coalition to allow Columbia SJP and Columbia JVP to continue operating despite their

suspension.129

        126.     CUAD first posted to Instagram on November 27, 2023, just two weeks after

Columbia SJP was suspended. While Columbia SJP continued to hold unsanctioned events and

rally its supporters through social media, CUAD became Columbia SJP’s new mouthpiece to spout




124
    Alwan Aff. ¶ 29.
125
    Id.; Jones Aff. ¶ 29.
126
    Statement from Gerald Rosberg, Chair of the Special Committee on Campus Safety, COLUMBIA NEWS (Nov. 20,
2023), https://news.columbia.edu/news/statement-gerald-rosberg- chair-special-committee-campus-safety.
127
    Within Our Lifetime (@WOLPalestine), X (Nov. 13, 2023),
https://x.com/WOLPalestine/status/1724142788902543746.
128
    Luke Tress, Columbia Student Group Retracts Apology of Member Who Said ‘Zionists Deserve to Die,’ THE
TIMES OF ISRAEL (Oct. 9, 2024), https://www.timesofisrael.com/columbia-student-group-retracts-apology-of-
member-who-said-zionists-deserve-to-die/.
129
    Chris Mendell and Gelila Negesse, Over 80 Student Groups Form Coalition Following Suspension of SJP, JVP,
COLUMBIA SPECTATOR, (Dec. 6, 2024), https://www.columbiaspectator.com/news/2023/11/29/over-80-student-
groups-form-coalition-following-suspension-of-sjp-jvp/.


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Hamas propaganda. Along with Within Our Lifetime, CUAD became the primary organizer of the

violent and antisemitic protests that would foment terror, sow discord, and disrupt campus life at

Columbia for over a year.

        127.    When this transition occurred, CUAD expressed the same affiliation and fealty to

AMP/NSJP that had previously been exhibited by Columbia SJP. CUAD began sending

representatives to NSJP events.

        128.    On December 10, 2023, Hamas announced that “We commend the global

movement advocating for a comprehensive strike, tomorrow, Monday, December 11, 2023. We

invite all the free people of the world to participate widely in it . . . . We also call for the

continuation and escalation of all forms of mass marches and public demonstrations, in cities,

capitals, and squares around the world, condemning the American support . . . .” 130 That day, NSJP

posted a call for its followers to participate in a global strike for Palestine on December 11, 2023—

just like Hamas had asked them to.131 Columbia SJP and Columbia JVP similarly heeded Hamas’

call and, despite their suspension from campus, organized a rally in front of Barnard and in front

of Low Library.132

        129.    Throughout the rest of the Fall 2023 Semester, the Associational Defendants

consistently followed the orders of Hamas.

                B.       The Spring 2024 Semester: Escalation




130
    Hamas, Monday, Dec. 11 global #StrikeForGaza, INTERNATIONAL ACTION CENTER (Dec. 10, 2023),
https://iacenter.org/2023/12/10/monday-dec-11-global-strikeforgaza/.
131
    National SJP (@nationalsjp), INSTAGRAM, https://www.instagram.com/nationalsjp/p/C0sKjv1O0o-/ (last visited
May 25, 2025).
132
    Chris Mendell, SJP and JVP Protest on Barnard’s Campus to Demand Permanent Ceasefire, COLUMBIA
SPECTATOR (Dec. 12, 2023), https://www.columbiaspectator.com/news/2023/12/11/sjp-and-jvp-protest-on-barnards-
campus-to-demand-permanent-ceasefire/; Columbia SJP, CANARY MISSION (last visited May 25, 2025),
https://canarymission.org/chapter/Columbia_SJP.


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        130.     On January 21, 2024, Khaled Mashal—a senior Hamas leader and the founder of

IAP, AMP/NSJP’s predecessor—drew parallels between Hamas’s goals and the work of American

student groups like CUAD, Columbia SJP, and Columbia JVP. He reportedly stated:

                 Obviously, the position of Hamas, and the position of the vast
                 majority of the Palestinian people, especially following October 7, I
                 believe that the dream and the hope for Palestine from the River to
                 the Sea, and from the north to the south, has been renewed. This has
                 also become a slogan chanted in the U.S., and in western capital
                 cities, by the American and Western public.
                 [***]
                 “Palestine from the River to the Sea”—that’s the slogan of American
                 students, and the [students] in European capital cities. Our
                 Palestinian enterprise, on which there is almost a Palestinian
                 national consensus . . . .133


In other words, Hamas acknowledged that the assistance that AMP/NSJP and the Associational

Defendants knowingly provided to Hamas was substantial in aiding Hamas to continue its acts of

international terrorism in pursuit of destroying the State of Israel.

        131.     With this backdrop, Defendants escalated their conduct, hosting individuals

affiliated with sanctioned terrorist groups on campus. On March 24, 2024, CUAD, Within Our

Lifetime, and Samidoun (which would be designated an FTO approximately six months later)

hosted an event called “Resistance 101.”




133
   Hamas Leader Abroad Khaled Mashal: ‘We Reject The Two-State Solution; October 7 Proved That Liberating
Palestine From The River To The Sea Is Realistic And Has Already Begun’, MEMRI TV (Jan. 22, 2024),
https://www.memri.org/reports/hamas-leader-abroad-khaled-mashal-we-reject-two-state-solution-october-7-proved-
liberating.


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        132.     Though Columbia barred the event from taking place, CUAD and Within Our

Lifetime proceeded with it anyway. Kiswani herself appeared at Resistance 101 in person while

the other panelists appeared by video conference. The speakers included (i) Khaled Barakat, a

PFLP terrorist;134 (ii) Charlotte Kates, Barakat’s wife and a leader of Samidoun; 135 and (iii) Sean

Eren, a member of the NSJP Steering Committee.

        133.     Eren, speaking on behalf of NSJP, lamented that he and his friends must worry

about being jailed if they so much as contact members of Hamas, and that the threat of this

constantly looms before them.

        134.     Barakat told the Associational Defendants, that when he speaks with his “friends

and brothers in Hamas, the PIJ, the PFLP,” they stress the importance of the American support

of the “resistance” (i.e. Hamas and its allies). “Every demonstration in New York matters for


134
    Khaled Barakat, CANARY MISSION, (last visited Mar. 23, 2025),
https://canarymission.org/individual/Khaled_Barakat.
135
    Charlotte Kates, CANARY MISSION, (last visited Mar. 23, 2025),
https://canarymission.org/individual/Charlotte_Kates.


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Gaza.”136 Barakat told the group, led by Associational Defendants—per his “friends and brothers”

in Hamas, the PFLP, and others—that every demonstration American students do matters and that

such “work” is more important than ever.

        135.     Kates explained that it was important for everyone to support Hamas because

Hamas terrorists took the necessary actions (i.e., raping, murdering, dismembering, and

kidnapping innocent men, women, and children) to liberate Palestine. In the words of Kates,

“There is nothing wrong with being a member of Hamas, being a leader of Hamas, being a fighter

in Hamas, these are the people that are on the front lines defending Palestine and fighting for its

liberation.” Kates encouraged the audience to fight alongside Hamas.

        136.     On information and belief, Alwan and Jones attended or were otherwise involved

in “Resistance 101.”137 Columbia reportedly suspended, at least temporarily, both Alwan and Jones

for their involvement in the event. 138

        137.     Six days later, on March 30, 2024, Barakat gave another interview with Al-Manat

TV (Hizbullah-Lebanon) in which he explained that the protesters in the West, with their chants to

“Free Palestine from the River to the Sea,” are providing popular, political, and media support for

the armed resistance.139



136
    Alex Oliveira, Columbia Suspends Students for ‘Resistance 101’ Where Guest Speaker Had Alleged Ties to Terror
Group: Reports, NEW YORK POST (Apr. 7, 2024) https://nypost.com/2024/04/07/us-news/columbia-suspends-
students-for-resistance-101-where-guest-speaker-had-alleged-ties-to-terror-group-reports/.
137
    Isabel Vincent and Dana Kennedy, Pro-Terror Radical Launched 2-Hour Anti-Israel Tirade at Columbia
University Event Weeks Before Protests Exploded: ‘Nothing Wrong with Being a Hamas Fighter’, NEW YORK POST
(Apr. 24, 2024), https://nypost.com/2024/04/24/us-news/palestinian-radical-at-columbia-nothing-wrong-with-
hamas/.
138
    Id.; Sarah Huddleston, et al., Four Columbia Students Suspended, Evicted from University Housing Following
Unauthorized ‘Resistance 101’ Event, COLUMBIA SPECTATOR (Apr. 5, 2024),
https://www.columbiaspectator.com/news/2024/04/04/four-columbia-students-suspended-evicted-from-university-
housing-following-unauthorized-resistance-101-event/.
139
    Canada-Based Former Senior PFLP Official Khaled Barakat On Hizbullah TV: American And Canadian
Protesters Support Armed Resistance, Elimination Of Israel; BDS Serves The Armed Resistance, But Cannot
Substitute It, MEMRI TV (Apr. 5, 2024), https://www.memri.org/reports/canada-based-former-senior-pflp-official-
khaled-barakat-hizbullah-tv-american-and-canadian.


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                C.       The Gaza Solidarity Encampment

        138.    Against the backdrop of the severe disruptions describe above, the U.S. House of

Representatives subpoenaed Columbia administrators to testify regarding virulent campus

antisemitism. The testimony was scheduled for April 17, 2024.

        139.    On the day of testimony, Associational Defendants launched the so-called “Gaza

Solidarity Encampment” (“Encampment”). The Encampment was designed to disrupt campus

activities, terrorize Jewish students, and prevent them from fully accessing campus, unless they

disavowed any allegiance to Israel. Another goal of the Encampment was to encourage other

AMP/NSJP affiliates to similarly takeover their own campuses and sow chaos in support of

Hamas.140

        140.    The Encampment was well-supplied with identical tents, toiletries, food, and

professional signage.

        141.    While Plaintiff Shlomi Ziv was held hostage, his Hamas captors showed him a news

report with stories and pictures of the Columbia protests and the Encampment. With the news

report on, his captors told him, “You see we have our own people everywhere.” They then told

him that Hamas has an “army” operating out of Gaza that focuses specifically on media and

sending Hamas propaganda and messaging throughout America and all around the world.

        142.    The Encampment was not a spontaneous act of civil disobedience. The

Associational Defendants acted as Hamas’ foot soldiers in New York City and on Columbia’s

campus and enacted Hamas and AMP/NSJP’s plan to disrupt Columbia’s operations to assist

Hamas.



140
   Kanishka Singh, Over 100 pro-Palestinian protesters arrested from New York’s Columbia campus, REUTERS
(Apr. 19, 2024), https://www.reuters.com/world/us/over-100-pro-palestinian-protesters-arrested-new-yorks-
columbia-campus-2024-04-19/.


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        143.     Columbia tried to end the Encampment. Khalil acted as the Encampment’s lead

negotiator.141




        144.     On April 18, 2024, Within Our Lifetime directed non-students to descend on the

Encampment and show their support. This forced Columbia to ask the New York Police

Department to enter campus and clear the Encampment. The NYPD arrested more than 100 pro-

Hamas activists.142 Alwan was among those arrested at the Encampment. 143

        145.     Meanwhile, Within Our Lifetime continued its regular riots and calls for

indiscriminate violence against civilians. One masked Hamas supporter, draped in a Palestinian




141
    Canary Mission (@canarymission), X (Mar. 13, 2025 11:16 AM),
https://x.com/canarymission/status/1900204396681535501.
142
    Dion Pierre, Ilhan Omar Silent After Daughter’s Arrest, Suspension for Role in Columbia University Anti-Israel
Protest, THE ALGEMEINER (Apr. 19, 2024) https://www.algemeiner.com/2024/04/19/ilhan-omar-silent-
daughters-arrest-suspension-role- columbia-university-anti-israel-protest/.
143
    Columbia SJP (@ColumbiaSJP), X (Apr. 19, 2024) (“An SJP Organizer, Maryam Alwan, smiling in the face of
arrest.”), https://x.com/ColumbiaSJP/status/1781412022594236511.


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flag, shouted, “Never forget the 7th of October! Are you ready? 7th of October is about to be every

day. Every day. 7th of October is going to be every day for you!” 144

        146.     The next day, in response to the clearing of the Encampment, NSJP posted:

                 TO ALL CHAPTERS: THIS IS A CALL TO ACTION!

                 Our universities have chosen profit and reputation over the lives of
                 the people of Palestine and the will of their students. [Columbia]
                 President Minouche Shafik’s cowardly testimony to Congress
                 heralds an unfortunate shift: university administrators have
                 capitulated to the pressure of the Zionist lobby and allied Right
                 Wing, selling out the Student Movement for Palestinian liberation
                 to save face in the eye of the state.

                 We know, however, that the supposed power of these administrators
                 pales in comparison to the combined strength of the students, staff,
                 and faculty committed to realizing justice and upholding Palestinian
                 liberation on campus. In the footsteps of our comrades at Rutgers-
                 New Brunswick SJP, Tufts SJP, and now Columbia SJP, we call on
                 all SJPs across the nation to take back the university and force the
                 administration to divest for the people of Gaza!

                 BE READY FOR AN INTERNAL CALL FOR IMMEDIATE
                 NEXT ACTION ITEMS! REPOST ON YOUR SOCIALS TO
                 CIRCULATE THIS NATIONAL CALL TO ACTION.145

        147.     The next day, on April 20, 2024, NSJP used the Associational Defendants’ actions

on Columbia’s campus to launch a new project: Popular University for Gaza.

                 PS WE ARE ALL SJP! PS Our universities have chosen profit and
                 reputation over the lives of the Palestine and our will as students.
                 The supposed power of our administrators is nothing compared the
                 strength of the united students, staff, and faculty committed to
                 realizing justice and upholding Palestinian liberation on campus. In
                 the footsteps of our comrades, at Rutgers-New Brunswick SJP, Tufts
                 SJP, and now Columbia SJP, we will seize our universities and force
                 the administration to divest, for the people of Gaza! Join the Popular
                 University, take back our institutions!146

144
    Michael Starr, ‘October 7 is about to be every day’: Columbia rally sees Hamas support, JERUSALEM POST (Apr.
21, 2024), https://www.jpost.com/diaspora/antisemitism/article-798049.
145
    National SJP (@nationalsjp), INSTAGRAM (Apr. 19, 2024),
https://www.instagram.com/p/C580sAZONce/?igsh=MzRlODBiNWFlZA%3D%3D.
146
    National SJP (@nationalsjp), INSTAGRAM (Apr. 20, 2024), https://www.instagram.com/p/C5_GEIWuo0D/.


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          148.   With NSJP’s support, despite the NYPD’s intervention, the Encampment

continued. Indeed, its extremism escalated. In the days that followed, the Encampment became

even more openly affiliated with Hamas and expressly invoked groups such as the “Al-Qassam

Brigades,” the militant terrorist wing of the Hamas organization. In fact, Encampment comrades

identified Jewish Columbia students as “Al-Qassam’s Next Target.” 147 Encampment Leaders

stated:

                 the Al-Aqsa Flood [the October 7 terrorist attack] that put the Global
                 Intifada back on the table again. And it is the sacrificial spirit of the
                 Palestinian Freedom Fights [Hamas] that will guide every struggle
                 on every corner of the earth to victory. . . . Remember that Militancy
                 breeds Resistance. Thousands upon thousands of students around
                 the world have been moved to rebel because of your militancy. 148

          149.   In response to the growing threats to Jewish students on Columbia’s campus, Hillel

Rabbi Eli Beuchler, the Director of the Orthodox Union-Jewish Learning Initiative and Columbia

and Barnard, issued the following message to students:

                 What we are witnessing in and around campus is terrible and tragic.
                 The events of the last few days, especially last night, have made it
                 clear that Columbia University’s Public Safety and the NYPD
                 cannot guarantee Jewish students’ safety in the face of extreme
                 antisemitism and anarchy.

                 It deeply pains me to say that I would strongly recommend you
                 return home as soon as possible and remain home until the reality in
                 and around campus has dramatically improved.

                 It is not our job as Jews to ensure our own safety on campus. No
                 one should have to endure this level of hatred, let alone at school.

                 If you need assistance, please reach out to me.

                 May we see better days on campus soon.




147
    Michael Starr, ‘Burn Tel Aviv to the Ground:’ Calls for Violence Continue at Columbia, THE JERUSALEM POST
(Apr. 21, 2024), https://www.jpost.com/diaspora/antisemitism/article-798160#google_vignette.
148
    Id.


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        150.    Some Jewish students, fearing for their safety, requested permission to attend class

remotely.149

        151.    Senior members of AMP/NSJP, including Osama Abuirshaid, attended the

Encampment,150 as did family members and representatives of individuals convicted of provided

material support of Hamas-linked FTOs such as Palestinian Islamic Jihad. 151 Kiswani celebrated

her wedding in the Encampment.152

        152.    On April 29, 2024, Associational Defendants’ mob seized Hamilton Hall, an

academic building at Columbia University. They barricaded the doors, blocked entrances, smashed

windows, zip-tied the doors shut, and even took janitorial staff hostage. 153 Associational

Defendants’ unlawful trespass and hostage-taking prompted the New York City Police Department

to sweep the building. NSJP live streamed the Hamilton Hall takeover and subsequent arrests on

Instagram. One live stream was captioned, “STUDENT INTIFADA AT COLUMBIA WHERE

STUDENTS HAVE OCCUPIED HAMILTON HALL.”




149
    Cayla Bamberger, Jewish students at Columbia University ask to study remotely as pro-Palestinian
demonstrations continue, N.Y. DAILY NEWS (Apr. 19, 2024), https://www.nydailynews.com/2024/04/19/students-at-
columbia-university-continue-pro-palestinian-demonstration-day-after-mass-arrests/.
150
    American Muslims for Palestine (@ampelstine), INSTAGRAM (Apr. 25, 2024),
https://www.instagram.com/ampalestine/reel/C6Ky7Q7rL3x.
151
    Joe Marino, et al., Wife of Convicted Terrorist Sami Al-Arian Was Hanging Out at Columbia Encampment
Before Dramatic Raid, NEW YORK POST (May 1, 2024), https://nypost.com/2024/05/01/us-news/wife-of-convicted-
terrorist-was-at-columbia-encampment-before-raid/.
152
    Shai Davidai (@SaiDavidai), X (Apr. 24, 2024, 1:36 AM),
https://x.com/ShaiDavidai/status/1783007102752936099.
153
    Aviva Klompas (@AvivaKlompas), X (Apr. 30, 2024, 7:15 AM),
https://twitter.com/AvivaKlompas/status/1785266759366226128.


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                         Columbia SJP rioters breaking into Hamilton Hall. 154




                      Columbia SJP rioter smashing a door at Hamilton Hall. 155




                    Columbia SJP rioters barricading a door at Hamilton Hall. 156




154
    Alex Kent & Matt Stieb, Behind the Barricades at Columbia’s Hamilton Hall Takeover, N.Y. MAGAZINE
(updated May 1, 2024), https://nymag.com/intelligencer/article/columbias-hamilton-hall-takeover-photos-from-
inside.html.
155
    Id.
156
    Id.


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                    Columbia SJP rioters barricading another door at Hamilton 157

        153.     One hundred and nine individuals were arrested for crimes committed at the

encampment ranging from second degree assault, criminal possession of a weapon, burglary, and

reckless endangerment.158

        154.     After Columbia ultimately dismantled the Encampment, the Associational

Defendants received heaps of praise from FTOs and nation-state proxies including the Islamic

Republic of Iran, the PFLP, Al-Qaeda, and Hezbollah issued statements supporting Associational

Defendants and student efforts to support their terrorist allies, like Hamas. 159

        155.     Jones also participated in the Encampment. At a press conference following the

Encampment’s removal, Jones referred to it as “our Encampment” “where we have spent the last

thirteen days” and warned: “We are not finished.” 160

        156.     On May 10, 2024, at an event that included Hamas, PFLP, and PIJ leadership, PFLP

Deputy Secretary-General Jamil Mezher praised the “university intifada,” urged its expansion, and

called them “a model to be emulated in order to triumph for Palestine and its people.”


157
    Id.
158
    JB Nicholas, Complete List and Profiles of All Protesters Arrested Inside Hamilton Hall at Columbia University,
THE FREELANCE (last visited May 25, 2025), https://www.thefreelancenews.org/israel-palestine/complete-list-amp-
profiles-of-all-protesters-arrstd-inside-hamilton-hall-columbia-university-j6fnp?format=amp.
159
    See Composite Exhibit 6.
160
    NBC News, “Student protester at Columbia says ‘we are not finished,’”
https://www.nbcnews.com/video/student-protester-at-columbia-says-we-are-not-finished-210091589891 (May 1,
2024).


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          157.   On May 31, 2024, Hassan Nasrallah, the Secretary General of Hezbollah (an

Iranian-funded and supported FTO in southern Lebanon), echoed the sentiment, recognizing and

lauding American students for their membership in the “resistance axis.” On June 11, Hezbollah

MP Mohammad Raad, the leader of Hezbollah’s Loyalty to the Resistance parliamentary bloc said

that Hezbollah should “invest” in these students.161 Columbia SJP later reposted a video of

Nasrallah glorifying martyrdom on Telegram, seemingly lamenting Israel’s elimination of an FTO

leader.

          158.   On January 15, 2025, the Resistance News Network shared a Telegram post quoting

a speech by Hamas Political Bureau member and head of Hamas in Gaza Dr. Khalil al-Hayya,

which stated, “We thank everyone who supported us with words, pens, voices, images, marches,

demonstrations . . . .” The word “demonstrations” linked to an April 29 Telegram post: “Inspired

by the example Columbia University students set with their Gaza Solidarity Encampment

beginning April 17, campus organizations across the world have followed suit.” 162

                 D.      The Associational Defendants’ Post-Encampment Activity

          159.   Columbia SJP further amplified its efforts and messaging through its association

with CUAD.

          160.   Columbia SJP continued to post pro-Hamas propaganda and repeat Hamas’ rhetoric

on its social media.163 For instance, on May 27, 2024, Columbia SJP—and SJP leaders at Harvard,

Princeton, Yale, and the University of Pennsylvania—released the same message on their




161
    Hizbullah Official Mohammad Raad: We Should Invest in the Pro-Palestine Student Protesters in Western
Universities in Order to Enter the Heart of Western Societies, MEMRI TV (June 20, 2024),
https://www.memri.org/reports/hizbullah-official-mohammad-raad-we-should-invest-pro-palestine-student-
protesters-western-0.
162
    Ex. 3.
163
    Ahmed Fouad Alkhatib (@afalkhatib), X (May 10, 2024, 2:56 AM),
https://x.com/afalkhatib/status/1788825504264695935.


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respective Instagrams, in both English and Arabic, calling for “an open intifada in every capital

and every city.” Columbia SJP’s post has since been deleted. It read:

                 Escalate disruption and confrontation across historic Palestine, from
                 every checkpoint and street corner to the face of every settler and
                 soldier. Escalate protests to an open intifada in every capital and city
                 in order to deprive the world from[sic] its heavy slumber that comes
                 at the expense of the bodies and remains of those who survive; disrupt
                 all facets of daily life until our people can breathe freely without the
                 taint of the Israeli, American, and European war machine.

        161.     Columbia SJP uses Telegram as its chief medium to spread Hamas’ message. On or

around May 29, 2024, Columbia SJP posted a message on its Telegram group from the Resistance

News Network (an FTO-affiliated Telegram chat) which provided a “guide on the different factions

of the Palestinian resistance.” The message continued, “What one must understand is the

Palestinian resistance is not isolated to one religion or ideology, nor is it only comprised of the

Islamic Resistance Movement Hamas. Educate yourself and render yourself immune to Zionist

propaganda.” The message included a graphic describing an array of jihadist factions, including

the designated FTO Al-Aqsa Martyrs Brigade, operating within both the West Bank and Gaza.

        162.     At the end of May 2024, Columbia SJP circulated a message from Resistance

Archives, another FTO-affiliated Telegram network, glorifying Hamas terrorists. The post

included a propaganda video of Hamas terrorists with the message: “These men will never be

defeated.”164

        163.     On June 2, 2024, Columbia SJP posted a series of pro-terror messages on its

Instagram account—material that has since been deleted. It read:

                 a.       “WE WILL BE BACK, INSTALLATION 1, COMPLETE”

164
   A Review of Columbia University’s Pro-Terror Group Students for Justice in Palestine (SJP)’s Encrypted
Telegram Channel, Where it Openly Celebrates the ‘Strategic and Anti-Imperialist Al-Aqsa Flood’ of October 7,
2023, Valorizes Terror Organizations, ‘Martyred’ Hamas Leader Sinwar, Hizbullah’s Nasrallah, MEMRI (JAN. 17,
2025), https://www.memri.org/reports/review-columbia-universitys-pro-terror-group-students-justice-palestine-sjps-
encrypted.


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                 b.      “WE KNOW THAT OUR MOVEMENT IS NOT CONFINED TO ONE
                         BUILDING OR ONE LAWN, BUT RATHER, WE KNOW THE PEOPLE
                         OF GAZA ARE THE LIFEBLOOD OF OUR STRUGGLE AND THAT
                         THEY HAVE SPARKED THE STUDENT INTIFADA”

                 c.      “WE RECOMMIT TO CONTINUE STRATEGIC, TARGETED ATTACKS
                         ON ALL ASPECTS OF UNIVERSITY LIFE”

                 d.      “WE ASK THAT STUDENTS ACROSS THE GLOBE PLEDGE TO
                         DISRUPT ALL ASPECTS OF UNIVERSITY LIFE”

                 e.      “AS WE BEGIN OUR SUMMER OF DISRUPTION, WE ASK THAT
                         EVERY STUDENT, AND OUR WIDER COMMUNITY, DOES THE
                         SAME. USE THIS TIME TO AGITATE, EDUCATE, AND ESCALATE”

                 f.      “UNTIL VICTORY AND WITH MORE INSTALLATIONS TO COME,
                         REVOLT FOR RAFAH-LONG LIVE THE STUDENT INTIFADA.”

        164.     In June 2024, CUAD publicly called on its followers to replicate October 7 on

American soil, specifically guiding CUAD members to “look to the tactics” of the “Palestinian

resistance for inspired actions,” and instructed them to “rise” “like a flood,” as Hamas wanted. 165

Indeed, CUAD encouraged its followers to emulate specific historical terrorist acts, including an

attempted firebombing of a federal building in Oakland, California. CUAD also referenced the

“Week of Action: Operation Campus Flood” at the University of California, Berkeley, where

“resistors” firebombed a UC Berkeley police car, torched a campus building, looted a campus

supply building, and set fire to a campus construction site.

        165.     Around June 20, 2024, CUAD published a since-deleted post on its Instagram with

a video depicting a “press conference” in front of the Manhattan criminal court building. 166 In the

video, the leader of the press conference demanded the dismissal of criminal charges against



165
    Columbia University Apartheid Divest (@cuapartheiddivest), INSTAGRAM (June 20, 2024), formerly available at
https://www.instagram.com/cuapartheiddivest/p/C8cjXIkN4Yl/?img_index=7; Ryan Mauro, 15 Smoking Guns That
Show Mahmoud Khalil is a Terror Threat, Blaze Media (Mar. 13, 2025),
https://www.theblaze.com/columns/opinion/15-smoking-guns-that-show-mahmoud-khalil-is-a-terror-threat.
166
    Columbia University Apartheid Divest (@cuapartheiddivest), INSTAGRAM (June 20, 2024), formerly available at
https://www.instagram.com/reel/C8c8QDoNSz3/?igsh=MWFzZW10bm53cjh4OQ%3D%3D.


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numerous “actionists” and “protestors.” Of the “Holy Land Foundation 5” (see supra ¶ 50), the

speaker declared: “Free them all.” The speaker also exhorted the audience to “continue escalating

in our tactics.”

           166.    On August 8, 2024, CUAD made a public declaration via Instagram in a post that

has since been deleted, stating: “We are Westerners fighting for the total eradication of Western

Civilization . . . we seek community and instruction from militants in the Global South[.]”167

(Emphasis added).

           167.    Additionally, CUAD declared that those fighting for resistance in America must

face extreme consequences—namely, being “killed, jailed, tortured and targeted”—in order to

“genuinely threaten the state” as part of the Unity Intifada that Hamas asked them to help with.

           168.    On September 24, 2024, CUAD hosted a “Study In4Palestine” at Columbia’s

Butler Library to demand Columbia’s divestment from Israel. The advertisement for this event

was circulated on the Instagram accounts for CUAD and Columbia JVP. The next day, individuals

at the Study In4Palestine event distributed terrorist propaganda material, depicted below. The

Associational Defendants have repeatedly spread the same pro-Hamas propaganda.




167
      Eyal Yakoby, @eyakoby, X (Aug. 7, 2024), https://x.com/EYakoby/status/1821374941909942650.


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       169.    The flyers specifically said that: “This booklet is part of a coordinated and

intentional effort to uphold the principles of the Thawabit and the Palestinian Resistance [Hamas]



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movement overall. By transmitting the words of the Resistance [Hamas] directly, this material

aims to build popular support for the Palestinian war of national liberation, a war which is waged

through armed struggle.” Lest there be any confusion, the booklet included messages from Hamas

and PFLP leaders, including a quote from Hamas’ Al-Aqsa Martyrs’ Brigades, stating that “We

will emerge upon you from where you least expect it.”

       170.    On September 29, 2024, two days after the death of Hezbollah leader Hassan

Nasrallah, the Columbia SJP Telegram account posted one of Nasrallah’s speeches, and the

following caption:

               “The resistance is, first and foremost the people. A people who
               possess faith, willpower, confidence in victory, who love
               martyrdom, and who reject humiliation and disgrace.” – Sayyed
               Hassan Nasrallah (1960-2024).

       171.    On October 7, 2024, CUAD marked the anniversary of the October 7 attacks by

distributing a self-published newspaper featuring the headline “One Year Since Al-Aqsa Flood,

Revolution Until Victory” above an image of Hamas terrorists breaching the security fence into

Israel. The newspaper also included an essay that described the October 7 attacks as a “moral,

military and political victory.”

       172.    That same day, on Columbia SJP’s group chat, they distributed talking points from

Ismael Haniyeh, the former chairman of the Hamas Political Bureau. The talking points

simultaneously valorized October 7—the massacres of innocents, the rapes, the kidnappings—as

a “moral, military, and political victory” and celebrated the so-called “mobilization and unity of

the world’s masses.” That is the very service Associational Defendants provide to Hamas.

       173.    On October 8, 2024, CUAD and Columbia JVP posted, “A Letter from CUAD

Leadership to Khymani James and Our Comrades in Solidarity” on a CUAD Instagram account

that, on information and belief, is operated by Defendant Khalil. James, a former CUAD



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spokesperson, had recorded a video starting that “Zionists don’t deserve to live” and that others

should “Be grateful that I’m not just going out and murdering Zionists” during a meeting with

school disciplinary officials. CUAD first attempted to distance itself from James’ statement,

issuing what it describes as an apology on his behalf. But on October 8, 2024, CUAD retracted its

apology, stating: “We support liberation by any means necessary, including armed resistance . . .

violence is the only path forward . . . Long live Palestine, long live the Intifada, and long live the

Resistance.”168

        174.      On November 9, 2024, CUAD and Within Our Lifetime held an exhibition at the

Alpha Delta Phi (ADP) Society House titled Hind’s House, in commemoration of the April 2024

Hamilton Hall takeover. Hind’s House was heavily promoted on Instagram by CUAD and Within

Our Lifetime. Flyers at the Hind’s House exhibition listed a series of student organizations to “join

and follow.” These groups included CUAD, Columbia SJP, and Columbia JVP. Within Our

Lifetime-branded merchandise was sold at Hind’s House. Additional flyers present at the

exhibition included the same Hamas propaganda distributed during the Study In4Palestine.

        175.      Kiswani was a featured speaker at the Hind’s House exhibition. Part of Kiswani’s

speech was a reading of Yahya Sinwar’s last will and testament. 169 Yahya Sinwar was the former

Chairman of Hamas’ Political Bureau who was killed in battle by the IDF in October 2024.




168
    Jackson Walker, Columbia student group rescinds apology for Zionists don’t deserve to live' comment (last
updated October 10, 2024), https://abc3340.com/news/nation-world/columbia-student-group-backtracks-apology-
for-zionists-dont-deserve-to-live-comment-university-apartheid-divest-cuad-new-york-city-nyc-khymani-james.
169
    Maya Sulkin, Inside Columbia University’s ‘Museum of Terror, THE FREE PRESS, (Jan. 6, 2025),
https://www.thefp.com/p/columbia-university-anti-israel-museum-of-terror.


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        176.    On November 27, 2024, CUAD published “A Tribute to Yahya Sinwar.” CUAD

lionized Sinwar as upholding the “fundamental tenets of the revolutionary lifestyle” and called

upon “each” of CUAD’s members to “look to him as a clear illustration of what it means to devote

a full lifetime to the intifada.”




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        177.    In January 2025, CUAD posted a video and a series of photos on Instagram

depicting Columbia University property defaced with the following graffiti: “Gaza,” “Press your

ears to the ground,” “The whole world fights for justice,” “Gaza rises, Columbia falls,” “Long

Live Hind,” and “Fuck Columbia.” In the caption, CUAD wrote:

                WE FIGHT UNTIL WE WIN. UNTIL PALESTINE IS FREE.
                CLASS IS BACK IN SESSION. GOOD LUCK COLUMBIA
                UNIVERSITY.겓겔겓 겔겓겔 WALKOUT AND RALLY TODAY AT
                1PM. THERE ARE NO UNIVERSITIES LEFT IN GAZA.
                400,000+ PALESTINIANS MARTYRED. CEASEFIRE IS NOT
                ENOUGH. LAND BACK, NOTHING LESS THAN
                LIBERATION.170

        178.    CUAD further directed its members to “bring the war home.”




170
 Jessica Costescu, Columbia Posts Security Guards Outside Jewish and Israel-Related Courses, THE
WASHINGTON FREE BEACON (Jan. 22, 2025).



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        179.     More than 15 months after October 7, and with the backdrop of the most expansive

war against Israel and the Jewish people since the Holocaust, CUAD has become one of the loudest

and most prolific disseminators of Hamas propaganda on college campuses in 2025.

        180.     On Friday, January 17, 2025, Hamas posted to Telegram a calling to “free peoples

around the world to continue activities in support of our people, denouncing these massacres and

Zionist terrorism, and pressuring the occupation by all means to stop its aggression against our

people in Gaza, Al-Quds and the West Bank.” 171

        181.     Four days later, CUAD stormed into a class on the “History of Modern Israel” with

the express intent on preventing the course from proceeding. CUAD—masked to hide their

identities—screamed “Burn Zionism to the Ground!” and “Crush Zionism!” all for the express

purpose of preventing a course from being taught at Columbia that might espouse a perspective

antithetical to the pro-Hamas narrative that they spread on Columbia’s campus in service of

Hamas.172

        182.     In official statements on social media, CUAD took credit for organizing the

disruption and celebrated it as a model for others to follow. CUAD boasted, “We disrupted a

Zionist class, and you should too,” encouraging more students to copy their tactic. 173

        183.     CUAD further declared that “History of Modern Israel isn’t the only Columbia

class training future foot soldiers and managers of genocide. We have an even greater duty to

disrupt them all. . . . Zionist classes should not exist without disruption. It is our duty to disrupt.” 174




171
    Ex. 3.
172
    David Propper, Anti-Israel Protesters Disrupt Columbia University Class, Sparking Confrontation Between
Students: Video, NEW YORK POST (Jan 22, 2025), https://nypost.com/2025/01/22/us-news/anti-israel-protesters-
disrupt-columbia-university-class-sparking-confrontation-between-students-video/.
173
    Id.
174
    Michael Starr, Barnard Expels Two Activists Who Disrupted Columbia Israel History Class, JPOST (Mar. 14,
2025), https://www.jpost.com/diaspora/antisemitism/article-843450.


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        184.     On February 12, 2025, the Resistance News Network posted on Telegram: “We, in

the Islamic Resistance Movement (Hamas), call on the masses of our people, our Arab and Islamic

nations, and the free people of the world to participate in massive rallies and solidarity events in

all cities and squares around the world.” 175 The same day, CUAD posted another call to action-

“all out to low steps! For political education & a rally!” “Gaza will resist” “Gaza will rebuild.”

        185.     On February 26, 2025, CUAD and Columbia SJP incited a mob to storm Milbank

Hall on Barnard College’s campus. The mob illegally occupied the building for several hours.

        186.     CUAD’s and Columbia SJP’s mob quickly turned violent when a group of masked

rioters assaulted a Barnard College staff member. The staff member was hospitalized. 176

        187.     On March 3, 2025, the Resistance News Network Telegram channel called on its

followers to “pressure the occupation, hold it accountable for its crimes against our people, and

stand in solidarity with our prisoners as they face dire conditions.” 177 Hamas put out a similar call

to action the next day. 178

        188.     One day after that, on March 5, 2025, CUAD forwarded a post to its telegram

channel from Within Our Lifetime, which stated, “All Out to Columbia Now[.]” 179 That telegram

post instructed students to demand “justice for Dr. Hussam Abu Safiya,” 180 who had been arrested

during a military operation for his affiliation with Hamas, and led to the storming of Barnard

College’s Milstein Library discussed below. 181



175
    Ex. 3.
176
    Michael Starr, Barnard Staff Hospitalized by Anti-Israel Activists Invading Campus Building, JERUSALEM POST
(Feb. 27, 2025), https://www.jpost.com/bds-threat/article-844081.
177
    Ex. 3.
178
    Id.
179
    Id.
180
    Id.
181
    Charlie Summers, Lawyers for Detained Gaza Hospital Chief Say He Was Abused in Israeli Custody, TIMES OF
ISRAEL (Feb. 12, 2025), https://www.timesofisrael.com/liveblog_entry/lawyers-for-detained-gaza-hospital-chief-say-
he-was-abused-in-israeli-custody/.


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        189.     On March 5, 2025, CUAD organized a mob that stormed and occupied Barnard

College’s Milstein Library.182 Again, Khalil served as the primary spokesperson and negotiator for

CUAD’s mob.183 However, at this point, Khalil had completed his coursework. 184




        190.     Khalil and the mob demanded the immediate reinstatement of the expelled students,

amnesty for all individuals disciplined for pro-Palestinian activities, and the abolition of Barnard’s

disciplinary procedures.




182
    Riya Mahanta, Jaya Shankar, and Kimberly Wing, CUAD Launches Sit-In at Barnard’s Milstein Library, Declares
Building the “Dr. Hussam Abu Safiya Liberated Zone,” THE BARNARD BULLETIN (March 5, 2025),
https://www.thebarnardbulletin.com/post/cuad-launches-sit-in-at-barnard-s-milstein-library-declares-building-the-
dr-hussam-abu-safiya-lib.
183
    Canary Mission (@canarymission), X (Mar. 13, 2025 11:19 AM),
https://x.com/canarymission/status/1900204960509227038/photo/1.
184
    Nik Popli, What to Know About Mahmoud Khalil, and Why His Green Card Was Revoked, TIME (Mar. 12, 2025),
https://time.com/7266683/mahmoud-khalil-columbia-green-card/.


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        191.     During the illegal occupation of Milstein Library, CUAD disseminated the “Our

Narrative” pamphlet, branded with the logo “Hamas Media Office.” 185




        192.     On March 9, 2025, Khalil, a Syrian native and Algerian citizen, was detained by

U.S. Immigration and Customs Enforcement pending his removal from the United States. CUAD

and Within Our Lifetime quickly organized a rally in solidarity with Khalil:




185
    Anthony Blair, Anti-Israel Mob that Stormed Barnard Handed Out ‘Hamas Media Office’ Flyers Glorifying Oct.
7: ‘Still Think They Don’t Support Terror?’ THE NEW YORK POST (March 6, 2025), https://nypost.com/2025/03/06/us-
news/barnard-protesters-shared-hamas-media-office-flyers/.


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        193.     Although Khalil has since been released from detention, his immigration case

continues.

VII.    WITHIN OUR LIFETIME’S AND KISWANI’S SUPPORT FOR HAMAS

                 A.      Kiswani’s Long History of Hamas Support

        194.     Defendant Nerdeen Kiswani has long advocated for the eradication of Israel,

glorified “martyrs” and the “resistance”—euphemisms for Hamas terrorists and Hamas itself—

and encouraged violence. A sample of her publicly reported pro-Hamas rhetoric is set forth below.

        195.     Around July 31, 2021, Kiswani stated:

                 We are 100% behind the resistance. * * * [T]he door of Al-Aqsa is
                 made of steel, it’s made of iron. And nobody can open it but the
                 martyr. That means that we know that our liberation will only come
                 through resistance, by any means necessary. * * * We know that
                 martyrs are immensely rewarded. 186

        196.     On November 5, 2022, Kiswani stated:

                 We should never try to make our movement palatable for Western
                 consumption, just for that sake. We should never undermine the role
                 of the resistance or hyperfocus on, you know, this human rights
                 discourse that just places us as passive victims because we are not
                 that, we are fighters, we are resisting. And I think that that's
                 something that’s beautiful and that should be celebrated by people
                 in the West.187

        197.     Kiswani declared at a rally on January 29, 2023:

                 From the ocean of Palestinians that have been martyred since the
                 beginning of the establishment of the Zionist state. Their names will
                 not go in vain, their deaths will not go in vain, because we will never



186
    MEMRI, “Brooklyn Memorial Rally In Honor Of Palestinian ‘Martyrs’: ‘If We Don't Get No Justice, They Don't
Get No Peace’; ‘NYC Is Full Of Palestine-Related Targets, The Options To Strike Back Are Endless’; ‘New York
To Gaza, Globalize The Intifada,’” https://www.memri.org/tv/Brooklyn-memorial-rally-palestinian-martyrs-no-
justice-peace-nyc-targets-strike-globalize-intifada.
187
    MEMRI, Palestinian-American Activist Nerdeen Kiswani On Iranian TV: Fighting, Resistance Are Beautiful,
Should Be Celebrated; That's The Only Way To Liberate Palestine; Lion's Den, Jenin Brigade Are Involved In
Active Resistance, Not Just Self-Defense, https://www.memri.org/tv/palestinian-american-activist-nerdeen-
resistance-liberate-lions-den-jenin-brigade-terror-groups-beautiful.


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                 stop fighting for Palestine, until every single inch of our land is
                 free.188

        198.     At another rally, Kiswani declared on April 15, 2023:

                 Fight for Palestine today and every single day until all our land is
                 liberated from the river to the sea – every inch of Palestine.
                 ***
                 Believe that you are in the right, to say that, yes, actually, a Jewish
                 state, build on dispossession of Palestinian people and that is
                 maintained by Jewish and white supremacy, absolutely has no right
                 to exist. And yes, it is our mission to ensure that it will no longer
                 exist, because as long as Israel exists, it is a threat to world peace. It
                 is a threat to not only Palestinians, but all people of the world.
                 ***
                 In order to commit yourself to Palestinian liberation and Palestinian
                 freedom, that absolutely means you must commit yourself to
                 abolishing Israel.189

        199.     At a May 13, 2023 rally, Kiswani stated:

                 As long as Israel exists, it is a threat to our people. As long as Israel
                 exists, Palestinians will keep dying. As long as Israel exists, we will
                 continue to face injustice. As long as Israel exists, we will continue
                 to protest it, because we know that it is not an actual thing, an actual
                 place, an actual state. It is a time period that we are going through
                 right now, and Palestine was there before it and will be there after
                 it.190

        200.     Around September 2, 2024, Kiswani led a crowd the following call-and response:

                 Israel is not a place. It’s a time. And their time is coming.
                 ***
                 A ceasefire is not enough. Hundreds of thousands of Palestinians
                 will not have died in vain. They died in pursuit of liberating our
                 homeland. And we will liberate it, by any means necessary. By any
                 means necessary.

188
    MEMRI, “Rally In Brooklyn To Support Jenin 'Martyrs': We Fight Until Every Inch Of Our Land Is Free; We
Salute The Resistance's Fight To Avenge The Martyrs, Reclaim Palestine From The River To The Sea,”
https://www.memri.org/tv/brooklyn-rally-support-jenin-martyrs-jenin-fight-until-every-inch-palestine-free.
189
    MEMRI, “Speakers At NYC Al-Quds Day Rally: Commit Yourself To Abolishing Israel, Its Existence Is A
Threat To World Peace; Fight For Palestine's Liberation By Any Means Necessary, Be Part Of The Intifada
Wherever You Are,” https://www.memri.org/tv/speakers-at-nyc-quds-day-rally-commit-to-abolishing-israel-threat-
world-peace-intifada.
190
    MEMRI, “Protestors, Activists At Nakba Day Rally In Brooklyn: Palestine Will Be Free By Any Means
Necessary! All Of Israel Is Stolen Land – Stand Up And Fight Back!,” https://www.memri.org/tv/brooklyn-nakba-
day-rally-support-palestine-resistance-any-means-necessary.


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                 ***
                 If you stand with Palestinians, you stand with Palestinian
                 resistance.191

        B. Strike4Gaza

        201.     The IRGC and Hamas work in tandem with each other. Iran, through the IRGC,

funds and trains Hamas, and coordinates many of Hamas’ operations. Indeed, the IRGC directly

enabled Hamas’ October 7 terrorist attack by funding, training, and equipping Hamas and Palestine

Islamic Jihad and by assisting in the preparations for the attacks. 192

        202.     In March 2024, the IRGC internally disseminated a secret memorandum titled

“Supporting and Encouraging Palestinian Movements Towards the Political Isolation of Zionism”

(“IRGC Memo”).193 The IRGC Memo called for “an economic blockade across four continents in

solidarity with Palestinians” on April 15, 2024. 194

        203.     The IRGC Memo leaked on April 15, 2024, the day of the planned blockade.

        204.     Before the leak, Hamas and the IRGC’s subordinates received their marching orders

and were prepared to carry out the IRGC’s intended attack on American critical infrastructure,

economic hubs, and academic centers.

        205.     Beginning in March 2024, a previously non-existent organization, A15 Action,

created a social media account and purchased a series of websites, including www.a15action.com

(“A15 Website”) and www.strike4gaza.org (“Strike4Gaza Website”). Through these channels, A15


191
    MEMRI, “Participants In ‘Flood NYC For Gaza’ Rally Wave Flags Of U.S. Designated Terrorist Organizations,
Yahya Sinwar; Nerdeen Kiswani Of Within Our Lifetime: A Ceasefire Is Not Enough; If You Stand With
Palestinians, You Stand With Palestinian Resistance,” https://www.memri.org/tv/flood-nyc-for-gaza-flag-us-
designated-terror-organizations-yahya-sinwar-nerdeen-kiswani-ceasefire-not-enough-resistance.
192
    Matthew Levitt, The Hamas-Iran Relationship, THE WASHINGTON INSTITUTE FOR NEAR EAST POLICY
(Nov. 2023), https://www.washingtoninstitute.org/policy-analysis/hamas-iran-relationship; Summer Said et al., Iran
Helped Plot Attack on Israel Over Several Weeks, WALL ST. J. (Oct. 8, 2023), https://www.wsj.com/world/middle-
east/iran-israel-hamas-strike-planning-bbe07b25.
193
    The IRGC Memo is attached as Exhibit 7.
194
    Id.; see also Leaked Document Reveals IRGC’s Role in Global Anti-Israel Campaign, IRAN INT’L NEWS (Apr.
15, 2024), https://www.iranintl.com/en/202404158853.


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Action coordinated an economic blockade on April 15, 2024, 195 directly following their orders

from the IRGC. There is no real organization named “A15 Action.” It is simply a pseudonym for

a group of organizations responsible for planning the April 15th Blockade. On the Strike4Gaza

Website, these organizations admit that the coordinated economic blockade was “Organized By”

a group of very familiar names, including AMP/NSJP and Within Our Lifetime:




195
      Coordinated Economic Blockade to Free Palestine, A15 ACTION (Apr. 15, 2024), archived atError!
Hyperlink reference not valid.,
https://web.archive.org/web/20240327084454/https://www.a15action.com.


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        206.     Within Our Lifetime was among the most aggressive of these organizations. On its

own webpage for the Strike4Gaza, Within Our Lifetime called for a “blockade” of the “global

economy” intended to “block[ ] the arteries of capitalism and jam[ ] the wheels of product” to

support Hamas.196 Within Our Lifetime specifically called on its supporters to “flood Wall Street

for Gaza” to “hurt the bottom line of these war profiteers and send a message that they will not get

away with committing a genocide.” 197 Within Our Lifetime created its own marketing materials

for the Strike4Gaza:




196
    April 15: Day of Action to Free Palestine, WITHIN OUR LIFETIME (last visited Mar. 23, 2025),
https://wolpalestine.com/a15/.
197
    Id.


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       207.   On April 15, 2024, “Strike4Gaza” protests erupted across the world, just as the

IRGC ordered. In America, Associational Defendants and the IRGC’s other allies and affiliates

across the country attacked major economic and infrastructure centers such as the Golden Gate

Bridge, Brooklyn Bridge, Chicago-O’Hare Airport and—at Within Our Lifetime’s direction—the

New York Stock Exchange.

       208.   This was planned and coordinated as part of a specific, direct response to orders

from the IRGC Memo which, again, was not yet public. Within Our Lifetime engaged in the

Strike4Gaza on direct orders from the IRGC Memo for the sole and specific purpose of providing

knowing and substantial support to Hamas, the IRGC’s puppet.

       C. June 10, 2024, Day of Rage

       209.   Within Our Lifetime planned and hosted a “Day of Rage” specifically designed to

harass and disrupt an exhibit in New York honoring the victims of Nova Music Festival (“Nova


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Exhibit”). Numerous New York-based AMP/NSJP affiliates attended Within Our Lifetime’s Day

of Rage.198 The Day of Rage—as one might expect—quickly descended into threats of violence,

particularly against Jews. Almost immediately, Within Our Lifetime’s mob took over subway trains

and began threatening people, demanding that “Zionists” identify themselves and threatening them

“to get out.”199

         210.      Outside the Nova Exhibit, Within Our Lifetime’s rioters lit and shot flares, waved

Hezbollah and Hamas Al-Qassam Brigade flags, and shouted slogans such as Long live October

7” and “Long live the intifada.” 200




           Within Our Lifetime Rioters Wave Terrorist Flags Outside the Nova Exhibit 201




198
    Adam Sabes, Several NYC Students for Justice in Palestine groups to hold 'Citywide Day of Rage for Gaza',
CAMPUS REFORM (June 10, 2024), https://www.campusreform.org/article/several- nyc-students-justice-palestine-
groups-hold-citywide-day-rage-gaza/25616.
199
    Justin Finch & Mira Wassef, Pro-Palestinian Protesters Take Over NYC Subway in “Day of Rage”, NEWS
NATION (June 13, 2024), https://www.newsnationnow.com/us-news/northeast/nyc-subway-day-of-rage.
200
    TOI Staff, NYC protesters wave terror group flags, call for intifada outside Nova massacre exhibit, TIMES OF
ISRAEL (June 11, 2024), https://www.timesofisrael.com/nyc-protesters-wave- terror-group-flags-call-for-intifada-
outside-nova-massacre-exhibit/.
201
    David Propper, Anti-Israel mob chanting ‘Long live Intifada’ lights flares outside NYC exhibit that memorializes
Oct. 7 Nova Music Festival victims, N.Y. POST (June 10, 2024), https://nypost.com/2024/06/10/us-news/anti-israel-
mob-chanting-long-live-intifada-light-flares-outside-nyc-exhibit-that-memorializes-oct-7-nova-music-festival-
victims/.


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               Within Our Lifetime rioters set off smoke bombs outside the Nova Exhibit 202




                            Within Our Lifeimte Rioters Clash with Police203

            211.   When Within Our Lifetime received backlash for its Day of Rage, Columbia JVP

quickly came to its defense:




202
      Id.
203
      Id.


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        D. Tarek Bazrouk

        212.    In May 2025, defendant Tarek Bazrouk was arrested and charged with hate crimes

for physically attacking Jews in New York City on three separate occasions. 204

        213.    On information and belief, Bazrouk has been a member of Within Our Lifetime

since at least 2021 and has attended multiple events organized by Within Our Lifetime. 205

        214.    According to the U.S. Department of Justice, Bazrouk’s first attack took place on

April 15, 2024, at a “protest concerning the Israel/Gaza war in Lower Manhattan, outside the New




204
    Press Release: New York Man Charged With Federal Hate Crimes After Repeatedly Assaulting Jewish Victims,
U.S. DEP’T OF JUSTICE (May 7, 2025), https://www.justice.gov/opa/pr/new-york-man-charged-federal-hate-crimes-
after-repeatedly-assaulting-jewish-victims.
205
    See generally Tarek Bazrouk, CANARY MISSION, https://canarymission.org/individual/Tarek_Bazrouk (last
visited July 13, 2025); see also https://canarymission.org/individual/Tarek_Bazrouk#lg=1&slide=33 (image of
Within Our Lifetime social media post with image of Bazrouk attending an event);
https://canarymission.org/individual/Tarek_Bazrouk#lg=1&slide=36 (image of Within Our Lifetime social media
post regarding “WOL members” with image of Bazrouk attending an event).


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York Stock Exchange.”206 The victim was a Jewish college student, whom Bazrouk kicked in the

stomach.207 On information and belief, this “protest” was Within Our Lifetime’s “Flood Wall Street

for Gaza” event discussed above in paragraphs 206 and 207. According to the government, the

following image of Bazrouk wearing a green headband associated with Hamas was taken shortly

after the attack.208




        215.      Bazrouk’s second attack took place on December 9, 2024 at a “protest relating to

the Israel/Gaza war next to the campus of Columbia University.” 209 The victim was a Jewish

student at Columbia, whom Bazrouk punched in the face. 210 On information and belief, Bazrouk

committed this hate crime at an event organized by CUAD and attended by members of Within

Our Lifetime.211


206
    Exhibit 8, Letter in support of Government’s application to detain Bazrouk pending trial (ECF No. 5) (“Detention
Letter”), at 2, United States v. Tarek Bazrouk, 25-cv-203 (RMB) (S.D.N.Y.) (filed May 7, 2025).
207
    Id.
208
    Id. at 2, 7.
209
    Id. at 3.
210
    Id.
211
    See Columbia Spectator, “Columbia University Apartheid Divest holds pro-Palestinian protest at Barnard gates,”
https://www.columbiaspectator.com/news/2024/12/10/columbia-university-apartheid-divest-holds-pro-palestinian-
protest-at-barnard-gates/ (Dec. 10, 2024) (updated Dec. 11, 2024).


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         216.     Bazrouk’s third attack took place on January 6, 2025, at a “protest concerning the

Israel/Gaza war near 1st Avenue and East 18th Street in Manhattan.” 212 The victim was wearing

an Israeli flag and a chain with a Jewish star on it.213 Bazrouk punched him in the face and said

“Fuck you, Nazi.”214 On information and belief, this “protest” was (or was related to) an event

Within Our Lifetime organized on the same day and in the same general area. 215

         217.     Bazrouk reportedly attended another protest characterized by anti-Jewish rhetoric

at Columbia on April 21, 2024, around the time of the Encampment, where he lit a flare. 216 In a

text message recovered from his phone, Bazrouk later implied that he had considered lighting

someone on fire.217

         218.     Bazrouk was arrested at least six other times for “conduct at Israel/Gaza

protests.”218 On information and belief, the “protests” were organized by the Associational

Defendants.

         219.     Bazrouk, a self-identified “Jew hater,” regularly sent antisemitic text messages and

even “doxed” a young Jewish student whom he believed attended a K-8 Jewish day school. 219

         220.     Bazrouk has significant ties to Hamas. According to the government, “Bazrouk’s

phones contain extensive additional pro-Hamas and pro-Hizballah propaganda” and “Bazrouk is a




212
    Detention Letter at 4.
213
    Id.
214
    Id.
215
    New York Post, “Anti-Israel protestors accuse Israel of abducting medical personnel during rally outside NYC
hospital,”       https://nypost.com/2025/01/07/us-news/anti-israel-protesters-hold-demonstration-outside-nyc-hospital/
(Jan.      7,     2025);     see    Within    Our    Lifetime       (@WOLPalestine),      X     (Jan.    5,    2025),
https://x.com/WOLPalestine/status/1876103509554213170.
216
    Detention Letter at 3 n.2; New York Post, “Columbia protester and self-proclaimed ‘Jew-hater’ had direct link to
Hamas’ terror cell, disturbing phone records reveal: DOJ,” https://nypost.com/2025/06/04/us-news/protestor-tarek-
bazrouk-had-link-to-hamas-militants-doj/ (June 4, 2025).
217
    Detention Letter at 3 n.2.
218
    Id. at 12.
219
    Id. at 5, 6.


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member of a chat group that received regular updates from the al-Qassam Brigades chief

spokesperson, Abu Obeida.”220

        221.     In September and October 2024, Bazrouk reportedly traveled to the West Bank and

Jordan to visit family.221 According to the government, Bazrouk’s phone contained text messages

from around the same time implying that members of his family were part of Hamas, which made

him “mad happy.”222

        222.     After Bazrouk’s arrest, the government seized more than $750,000 in cash, which

his defense attorney implausibly claimed that Bazrouk earned through working at an unlicensed

“smoke shop.”223 On information and belief, based on Bazrouk’s ties to the Associational

Defendants and Hamas, his antisemitic crimes and beliefs, and the other facts alleged herein, the

$750,000 is not the proceeds from Bazrouk’s work at a “smoke shop” and is instead related to the

efforts of Bazrouk, Within Our Lifetime, and the remaining Defendants to support Hamas and

enable its crimes.

        223.     On June 11, 2025, the government filed a superseding information charging

Bazrouk with one count of conspiracy to commit hate crimes, with “others known and unknown,”

based on the same three attacks. 224 Bazrouk pleaded guilty on the same day.225

        224.     On July 11, 2025, Within Our Lifetime published a social media post declaring

“FREE TAREK BAZROUK” and “demand[ing] a sentence of time served.” 226 The post claimed



220
     Id. at 7.
221
    Id. at 19.
222
     Id. at 5, 19.
223
     Exhibit 9, Order of Detention (ECF No. 16), at 8, 14, United States v. Bazrouk, 25-cv-203 (RMB) (S.D.N.Y. May
21, 2025).
224
     Superseding Information (ECF No. 30), ¶¶ 1, 3, United States v. Bazrouk, 25-cr-203 (RMB) (S.D.N.Y. filed June
11, 2025).
225
     Docket Entry dated June 11, 2025, United States v. Bazrouk, 25-cr-203 (RMB) (S.D.N.Y. June 11, 2025).
226
     Within Our Lifetime (@WOLPalestine), X (July 11, 2025),
https://x.com/WOLPalestine/status/1943750028054737162.


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Bazrouk—who has admitted he is guilty of participating in a violent antisemitic conspiracy—was

“unjustly” targeted. Within Our Lifetime also urged people to sign a petition in support of Bazrouk

and to send him money:




       225.    On information and belief, Bazrouk at least indirectly communicated with Hamas,

and addressed his activity to and coordinated his activity with Hamas, in connection with the

conduct alleged herein.




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       226.    On information and belief, Bazrouk acted as an intermediary through which the

remaining Defendants indirectly communicated with Hamas, and through which the remaining

Defendants addressed their activity to and coordinated their activity with Hamas, in connection

with the conduct alleged herein.

       227.    On information and belief, in addition to the other methods alleged herein,

Defendants also indirectly communicate with Hamas, and address their activity to and coordinate

their activity with Hamas, through other intermediaries similarly situated to Bazrouk, whose

identities will be revealed in discovery, in connection with the conduct alleged herein.

VIII. THE DEFENDANTS’ ACTIONS ARE NOT PROTECTED SPEECH

       228.    This case is not about individuals and organizations independently exercising their

free speech rights to support whatever cause they wish—no matter how abhorrent.

       229.    Rather, it is about organizations and their leaders knowingly providing substantial

assistance—in the form of propaganda and recruiting services—to, and in coordination with, a

designated foreign terrorist organization, Hamas. This substantial assistance is valuable to Hamas

and instrumental to its ability to engage in October 7 and its subsequent and ongoing acts of

international terrorism.

       230.    It would be illegal for Hamas to directly retain a traditional public relations firm in

the United States or hire enforcers to impose their will on American cities. Therefore, those are

precisely the services that the Associational Defendants knowingly provide to Hamas. Indeed, in

many instances, they do so in direct coordination with Hamas itself and/or with AMP/NSJP.

       231.    In short, Hamas relies on its propagandists around the world to do its bidding,

spreading its falsehoods about Israel and the Jews far and wide, and to instigate a culture of

violence and fear to sway global institutions to behave in Hamas’ favor. Global propaganda,




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particularly directed at the West and the United States, is not just one small part of Hamas’ broader

strategy: it is Hamas’ grand strategy. Sadly, Hamas’ foot soldiers in New York City and on

Columbia’s campus have become so emboldened that they act without fear of accountability.

                                          COUNT I
                   Violation of the Antiterrorism Act, 18 U.S.C. § 2333(d)
 (by Iris Weinstein Haggai, John Doe, Richard Roe, and Jane Moe against all Defendants)

       232.    Plaintiffs Iris Weinstein Haggai, on her own behalf on behalf of Judith Lynne

Weinstein Haggai and Gad Haggai, John Doe, Richard Roe, and Jane Moe (“U.S. Plaintiffs”)

reallege and reincorporate all the foregoing allegations as though fully set out herein.

       233.    Under the ATA, “[a]ny national of the United States injured in his or her person,

property, or business by reason of an act of international terrorism, or his or her estate, survivors,

or heirs, may sue therefor in any appropriate district court of the United States and shall recover

threefold the damages he or she sustains and the cost of the suit, including attorney’s fees.” 18

U.S.C. § 2333(a).

       234.    ATA “liability may be asserted as to any person who aids and abets, by knowingly

providing substantial assistance, or who conspires with the person who committed such an act of

international terrorism.” Id. § 2333(d)(2).

       235.    Hamas committed, planned, or authorized numerous acts of international terrorism,

including:

               a.      The October 7 attack;

               b.      The holding of hostages in Gaza;

               c.      The theft and withholding of the bodies of the deceased;

               d.      Rocket attacks against civilians; and

               e.      Attacks on Israeli soldiers.




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          236.   Hamas is a United States designated FTO and was so as of the date these acts were

committed.

          237.   U.S. Plaintiffs and their decedents have been injured in their persons, property,

and/or business because of the foregoing acts of international terrorism, which are ongoing and

continue through the day of this filing.

          238.   Associational Defendants are properly sued through their respective representatives

named herein.

          239.   Through the Defendants’ provision of the propaganda services, recruiting services,

and acts of violence alleged above, the Defendants have aided and abetted, by providing knowing

and substantial assistance, the foregoing and ongoing acts of international terrorism.

          240.   Associational Defendants so pervasively and systemically assisted Hamas as to

render them liable for every Hamas terror attack and action.

          241.   On information and belief, Associational Defendants’ members, both explicitly and

implicitly through their actions and inactions, authorized or ratified all the conduct described.

          242.   Accordingly, Defendants are liable to U.S. Plaintiffs under the Antiterrorism Act.

                                           COUNT II
                       Violation of the Law of Nations, 28 U.S.C. § 1350
           (by Shlomi Ziv, Ayelet Samerano, Talik Gvili, Roee Baruch, and James Poe
                                     against all Defendants)

          243.   Plaintiffs Shlomi Ziv, Ayelet Samerano, on her own behalf and on behalf of Yonatan

Samerano, Talik Gvili, on her own behalf and on behalf of Ran Gvili, Roee Baruch, on his own

behalf and on behalf of Uriel Baruch, and James Poe, on his own behalf and on behalf of Leo Poe

(“Israeli Plaintiffs”), reallege and reincorporate all the foregoing allegations as though fully set out

herein.




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       244.    The Alien Tort Statute grants federal district courts with “original jurisdiction of

any civil action by an alien for a tort only, committed in violation of the law of nations or a treaty

of the United States.” 28 U.S.C. § 1350.

       245.    Israeli Plaintiffs are Israeli citizens and are therefore aliens under the Alien Tort

Statute.

       246.    To establish a claim under the Alien Tort Statute, Plaintiffs must demonstrate that

the alleged violation is “of a norm that is specific, universal, and obligatory” and that “allowing

this case to proceed under the ATS is a proper exercise of judicial discretion.” Jesner v. Arab Bank,

PLC, 584 U.S. 241 (2018).

       247.    Crimes against humanity constitute violations of the law of nations for the purpose

of establishing a claim under the Alien Tort Statute. Licci v. Lebanese Canadian Bank, SAL, 834

F.3d 201, 213 (2d Cir. 2016).

       248.    Systematic attacks against a civilian population with the intention of expelling them

from the territory constitute crimes against humanity. See id. (“Plaintiffs have alleged systematic

rocket attacks against the Jewish civilian population in Israel, committed with the intent to

exterminate or expel them from the territory. These allegations adequately plead acts of genocide

and crimes against humanity.”)

       249.    The “law of nations,” or international law, universally prohibits crimes against

humanity such as those Hamas perpetrated on and after October 7, including kidnapping and

imprisoning civilian hostages, attacking civilian populations, and holding human remains to use

as bargaining chips. Since the Nuremberg trials and the aftermath of World War II, it has been




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universally recognized that it is unacceptable to murder, rape, torture, imprison, deport, enslave,

or exterminate a civilian population.227

         250.     It is appropriate for the Court to rely, inter alia, on both the Rome Statute of the

International Criminal Court (“Rome Statute”) and the Charter of the International Military

Tribunal at Nuremburg after World War II (the “London Charter”) for informing its understanding

of what constitutes crimes against humanity. See Almog v. Arab Bank, PLC, 471 F. Supp. 2d 257,

275 (E.D.N.Y. 2007) (Rome Statute); United States v. Yousef, 327 F.3d 56, 83, 105 n.40 (2d Cir.

1995) (London Charter).

         251.     The Rome Statute, an international treaty adopted in 1998 and signed by 123

countries, prohibits certain crimes against humanity that are committed against a civilian

population in a systematic way, including murder, extermination, enslavement, deportation or

forcible transfer of population, torture, rape, and persecution against an identifiable group. 228

         252.     Crimes against humanity, as defined by the London Charter, include “murder,

extermination, enslavement, deportation, and other inhumane acts committed against a civilian

population, before or during the war, or persecutions on political, racial or religious grounds …” 229

         253.     “Aiding and abetting is a theory of liability recognized by customary international

law.” Licci, 834 F.3d at 213.

         254.     “[A] defendant may be held liable under international law for aiding and abetting

the violation of that law by another when the defendant (1) provides practical assistance to the

principal which has a substantial effect on the perpetration of the crime, and (2) does so with the




227
    Nuremberg Control Council Law No. 10, art. II, § 1(b)–(d), available at https://avalon.law.yale.edu/imt/imt10.asp.
228
      Rome Statute of the International Criminal Court art. 7 (July 17, 1998), https://www.icc-
cpi.int/sites/default/files/2024-05/Rome-Statute-eng.pdf.
229
    Agreement for the Prosecution and Punishment of the Major War Criminals of the European Axis, and Charter of
the International Military Tribunal, art. 6(c), Aug. 8, 1945, 82 U.N.T.S. 279.


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purpose of facilitating the commission of that crime.” Presbyterian Church of Sudan v. Talisman

Energy, Inc., 582 F.3d 244, 259 (2d Cir. 2009) (internal quotation marks omitted).

       255.     Associational Defendants are properly sued through their respective representatives

named herein.

       256.     Defendants provide practical assistance to Hamas that has substantially affected

Hamas’ ability to carry out their crimes against humanity that have injured the Israeli Plaintiffs.

       257.     Both before and after October 7, Defendants intentionally instigated a mass culture

of fear, threats, violence, and overt hatred on Columbia’s campus and around New York City to

intimidate Columbia and other New York institutions, in an attempt to bend them to Hamas’ will.

Defendants have spent the time since Hamas’ October 7 attack organizing and inciting riots and

acts of domestic terrorism as part of their substantial assistance to Hamas.

       258.     Defendants have provided this practical assistance with the purpose of facilitating

Hamas’ crimes against humanity.

       259.     By providing this practical assistance to Hamas with the purpose of facilitating

Hamas’ crimes against humanity, Defendants aided and abetted Hamas’ crimes against humanity,

before, during, and after October 7, including Hamas’ efforts to demonize Israel, all in violation

of international law.

       260.     Additionally, by providing this support, Defendants have materially supported

Hamas, an FTO, in violation of international law.

       261.     On information and belief, Associational Defendants’ members, both explicitly and

implicitly through their actions and inactions, authorized or ratified all the conduct described.

       262.     As a result of Defendants’ aiding, abetting, and materially supporting Hamas,

Israeli Plaintiffs and their decedents suffered injuries to their persons and property.




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                          PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs demand:

      i.     Judgment against Defendants, individually and as representatives of
             Associational Defendants, for violating the Antiterrorism Act and the law
             of nations;

      ii.    Compensatory damages for each Plaintiff in amounts to be determined at
             trial;

      iii.   As to U.S. Plaintiffs, treble damages as authorized by 18 U.S.C. § 2333(a);

      iv.    Punitive damages in an amount sufficient to punish Defendants,
             individually and as representatives of Associational Defendants, and to
             deter similar conduct in the future;

      v.     Pre- and post-judgment interest where applicable in favor of Plaintiffs;

      vi.    Costs, expenses, and attorney’s fees as permitted by law or equity; and

      vii.   Any such further relief as this Court deems appropriate or as justice
             requires.




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                                         Respectfully submitted,

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 *Pro Hac Vice Application Forthcoming




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